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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK

DR. ALAN SACERDOTE, DR. HERBERT
SAMUELS, MARK CRISPIN MILLER,
MARIE E. MONACO, DR. SHULAMITH
                                             CLASS ACTION
LALA STRAUSSNER, AND JAMES B.
                                             COMPLAINT
BROWN, individually and as
representatives of a class of participants
and beneficiaries on behalf of the NYU       JURY TRIAL DEMANDED
School of Medicine Retirement Plan for
Members of the Faculty, Professional
Research Staff and Administration and the
New York University Retirement Plan for
Members of the Faculty, Professional
Research Staff and Administration,

                         Plaintiffs,
v.

NYU LANGONE HOSPITALS (f/k/a NYU
HOSPITALS CENTER), NYU LANGONE
HEALTH SYSTEM (a/k/a NYU SCHOOL
OF MEDICINE), RETIREMENT PLAN
COMMITTEE, RICHARD BING,
MICHAEL BURKE, CATHERINE CASEY,
MARTIN DORPH, SABRINA ELLIS,
THOMAS FEUERSTEIN, ANDREW
GORDON, PATRICIA HALLEY, TIM
HESLER, KATHLEEN JACOBS, MARINA
KARTANOS, ANN KRAUS, MARGARET
MEAGHER, CYNTHIA NASCIMENTO,
NANCY SANCHEZ, TINA SURH, LINDA
WOODRUFF, MAURICE MAERTENS,
JOSEPH MONTELEONE, RAY
OQUENDO, AND CHRIS TANG,

                         Defendants.
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                                     COMPLAINT

         1.    Plaintiffs Dr. Alan Sacerdote, Dr. Herbert Samuels, Mark Crispin

Miller, Marie E. Monaco, Dr. Shulamith Lala Straussner, and James B. Brown,

individually and as representatives of a class of participants and beneficiaries of the

New York University Retirement Plan for Members of the Faculty, Professional

Research Staff and Administration and the NYU School of Medicine Retirement

Plan for Members of the Faculty, Professional Research Staff and Administration

(herein collectively referred to as the “Plans”), bring this action under 29 U.S.C.

§1132(a)(2) on behalf of the Plans against Defendants the Retirement Plan

Committee, Richard Bing, Michael Burke, Catherine Casey, Martin Dorph, Sabrina

Ellis, Thomas Feuerstein, Andrew Gordon, Patricia Halley, Tim Hesler, Kathleen

Jacobs, Marina Kartanos, Ann Kraus, Margaret Meagher, Cynthia Nascimento,

Nancy Sanchez, Tina Surh, Linda Woodruff, Maurice Maertens, Joseph Monteleone,

Ray Oquendo, Chris Tang, the NYU School of Medicine, and the NYU Hospitals

Center for breach of fiduciary duties under ERISA.1

         2.    ERISA’s fiduciary duties “are those of trustees of an express trust—the

highest known to the law.” Donovan v. Bierwirth, 680 F.2d 263, 271, 272 n.8 (2d Cir.

1982); 29 U.S.C. §1104(a). In exercising those duties, ERISA fiduciaries are held to

the standard of financial experts in the field of investment management. See

Katsaros v. Cody, 744 F.2d 270, 275, 279 (2d Cir. 1984); Liss v. Smith, 991 F. Supp.

278, 296 (S.D.N.Y. 1998). Fiduciaries must “initially determine, and continue to

monitor, the prudence of each investment option available to plan participants,”

 1   The Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461.
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DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 423 (4th Cir. 2007) (emphasis original),

and must “remove imprudent ones” within a reasonable time, Tibble v. Edison Int’l,

135 S. Ct. 1823, 1828–29 (2015).

      3.     Defined contribution plans with billions of dollars in assets, like the

Plans—which are among the largest 0.06% of defined contribution plans in the

United States—have tremendous bargaining power in the marketplace for

retirement plan services, and can demand high-quality administrative and

investment management services at low cost. As fiduciaries to the Plans,

Defendants are obligated to limit the Plans’ expenses to a reasonable amount, to

ensure that each fund in the Plans is a prudent option for participants to invest

their retirement savings and priced at a reasonable level for the size of the Plans;

and to analyze the costs and benefits of alternatives for the Plans’ administrative

and investment structure. Defendants must make those decisions for the exclusive

benefit of participants, and not for the benefit of conflicted third parties, such as the

Plans’ service providers.

      4.     Instead of using the Plans’ bargaining power to reduce expenses and

exercising independent judgment to determine what investments to include in the

Plans, Defendants squandered that leverage by allowing the Plans’ conflicted third

party service providers—TIAA-CREF and Vanguard—to dictate the Plans’

investment lineup, to link its recordkeeping services to the placement of investment

products in the Plans, and to collect unlimited asset-based compensation from their

own proprietary products.


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      5.     To remedy these fiduciary breaches, Plaintiffs, individually and as

representatives of a class of participants and beneficiaries of the Plans, bring this

action on behalf of the Plans under 29 U.S.C. §1132(a)(2) to enforce Defendants’

personal liability under 29 U.S.C. §1109(a) to make good to the Plans all losses

resulting from each breach of fiduciary duty and to restore to the Plans any profits

made through Defendants’ use of the Plans’ assets. In addition, Plaintiffs seek such

other equitable or remedial relief for the Plans as the Court may deem appropriate.

                          JURISDICTION AND VENUE

      6.     Subject-matter jurisdiction. This Court has exclusive jurisdiction

over the subject matter of this action under 29 U.S.C. §1132(e)(1) and 28 U.S.C.

§1331 because it is an action under 29 U.S.C. §1132(a)(2).

      7.     Venue. This District is the proper venue for this action under 29

U.S.C. §1132(e)(2) and 28 U.S.C. §1391(b) because it is the district in which the

subject Plans are administered, where at least one of the alleged breaches took

place, and where the Defendants reside or may be found.

      8.     Standing. An action under §1132(a)(2) allows recovery only for a plan,

and does not provide a remedy for individual injuries distinct from plan injuries.

LaRue v. DeWolff, Boberg & Assocs., 552 U.S. 248, 256 (2008). The plan is the victim

of any fiduciary breach and the recipient of any recovery. Id. at 254. Section

1132(a)(2) authorizes any participant, fiduciary, or the Secretary of Labor to sue

derivatively as a representative of the plan to seek relief on behalf of the plan. 29

U.S.C. §1132(a)(2). As explained in detail below, the Plans suffered millions of

dollars in losses traceable to Defendants’ fiduciary breaches and remain exposed to
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harm and continued future losses, and those injuries may be redressed by a

judgment of this Court in favor of Plaintiffs. To the extent the Plaintiffs must also

show an individual injury even though §1132(a)(2) does not provide redress for

individual injuries, each Plaintiff has suffered such an injury, in at least the

following ways:

      a.     The named Plaintiffs and all participants in the Plans suffered

             financial harm as a result of the imprudent or excessive fee options in

             the Plans because Defendants’ inclusion of those options deprived

             participants of the opportunity to grow their retirement savings by

             investing in prudent options with reasonable fees, which would have

             been available in the Plans if Defendants had satisfied their fiduciary

             obligations. All participants continue to be harmed by the ongoing

             inclusion of these imprudent and excessive cost options and payment of

             excessive recordkeeping fees.

      b.     The named Plaintiffs and all participants in the Plans were financially

             harmed by Defendants’ improper bundling of some of the Plans’

             investment products, improperly allowing the companies to require

             inclusion of their investment products in the Plans, instead of each

             investment option being independently selected.

      c.     The named Plaintiffs’ individual accounts in the Plans were further

             harmed by Defendants’ breaches of fiduciary duties because one or

             more of the named Plaintiffs during the proposed class period (1)


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     invested in the CREF Stock and TIAA Real Estate accounts that were

     improperly linked to TIAA’s other products and services and which

     Defendants failed to remove from the Plans when it was clear from

     past poor performance and their excessive fees that they were

     imprudent investments, at a time when those options suffered losses

     compared to the performance of numerous prudent alternatives in

     which those assets would have been invested had Defendants not

     breached their fiduciary duty (Plaintiffs Monaco, Samuels, and

     Straussner), (2) invested in excessive-cost investment options,

     including funds that paid revenue sharing to the Plans’ recordkeepers

     and higher-cost share classes of mutual funds in the Plans which were

     priced for small investors at a time when far lower-cost but otherwise

     identical share classes of the same mutual funds were available for

     inclusion in the Plans because of the enormous size of the Plans,

     resulting in a loss of retirement savings (all Plaintiffs), and (3) through

     their investments in those mutual funds and other investments and

     the fees charged on their investments in those funds, paid a portion of

     the Plans’ excessive administrative and recordkeeping fees, which

     would not have been incurred had defendants discharged their

     fiduciary duties to the Plan, and resulting in a loss of retirement

     savings (all Plaintiffs). Specifically, during the class period, Plaintiff

     Sacerdote invested in the higher-cost share classes of Vanguard


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     Morgan Growth, Vanguard Explorer, Vanguard Total Bond Market

     Index, Vanguard Total International Stock Index, and Vanguard

     Windsor II; Plaintiff Samuels invested in the higher-cost share class of

     the Vanguard Windsor II, as well as the CREF Global Equities and

     CREF Growth accounts; Plaintiff Miller invested in the higher-cost

     share class of the Vanguard Institutional Index; Plaintiff Straussner

     invested in the higher-cost share classes of Vanguard GNMA,

     Vanguard High-Yield Corporate, Vanguard Inflation-Protected

     Securities, and Vanguard Long-Term Treasury, as well as the CREF

     Bond Market and CREF Global Equities accounts; Plaintiff Brown

     invested in the higher-cost share classes of Vanguard Long-Term

     Treasury, Vanguard Prime Money Market, Vanguard Health Care,

     Vanguard Small Cap Value Index, and Vanguard Energy, at a time

     when far lower-cost share classes of each of those funds were available

     to the Plans because of their size. Plaintiff Brown invested in the

     Vanguard Target Retirement 2015, and Plaintiff Monaco invested in

     the CREF Global Equities and CREF Growth accounts, each of which

     paid a portion of the Plans’ excessive administrative and recordkeeping

     fees through revenue sharing payments. Through their investments in

     these funds, each of the Plaintiffs paid excessive investment

     management fees and was assessed a portion of the Plans’ excessive

     administrative and recordkeeping fees.


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                                        PARTIES

      New York University Retirement Plan for Members of the Faculty,
              Professional Research Staff and Administration

      9.     New York University (“NYU”) is a non-profit corporation organized

under New York law with its principal place of business in New York, New York.

NYU is the fiduciary responsible for the control, management and administration of

the Plans, in accordance with 29 U.S.C. §1102(a). NYU is the Plans’ Administrator

under 29 U.S.C. §1002(16)(A)(i) with responsibility and complete discretionary

authority to control the operation, management and administration of the Plans,

with all powers necessary to enable NYU to properly carry out such responsibilities,

including the selection and compensation of the providers of administrative services

to the Plans and the selection, monitoring, and removal of the investment options

made available to participants for the investment of their contributions and

provision of their retirement income.

      10.    Specifically, both the Faculty Plan and the Medical Plan provide that

the Plan “Administrator” is the University, as defined as New York University, or

such other person or committee appointed by the University to administer the Plan.

Moreover, both Plans provide that the Plan Administrator is the “Named fiduciary”

for purposes of § 402(a)(1) of ERISA.

      11.    NYU is a fiduciary to the Plans because it exercised discretionary

authority or discretionary control respecting the management of the Plans or

exercised authority or control respecting the management or disposition of its assets




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as explained below, and has discretionary authority or discretionary responsibility

in the administration of the Plans. 29 U.S.C. §1002(21)(A)(i) and (iii).

      12.    NYU is the employer of those individuals who served on the

Retirement Committee as described more fully in the “Defendants” section below.

NYU delegated its fiduciary responsibilities with respect to the Plans as set forth in

the “Defendants” section.

      13.    The New York University Retirement Plan for Members of the Faculty,

Professional Research Staff and Administration (“Faculty Plan”) is a defined

contribution, individual account, employee pension benefit plan under 29 U.S.C.

§1002(2)(A) and §1002(34).

      14.    The Faculty Plan is established and maintained under a written

document in accordance with 29 U.S.C. §1102(a)(1). The Plan was organized

effective January 1, 1952. The Faculty Plan was named the “NYU TIAA-CREF

Retirement Plan” until January 1, 1985, the “NYU Retirement Annuity Plan” until

September 1, 1990, and its current name thereafter. The Faculty Plan was most

recently amended and restated effective January 1, 2014.

      15.    The Faculty Plan covers substantially all members of the University’s

faculty, professional research staff, and administration, other than employees of the

School of Medicine, and provides for retirement income for its participants. That

retirement income depends upon deferrals of the employee’s compensation,

contributions made on behalf of each employee by his or her employer, and

performance of investment options net of fees and expenses.


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      16.    As of December 31, 2016, the Faculty Plan had $2.6 billion in net

assets and 17,299 participants with account balances. It is among the largest 0.04%

of defined contribution plans in the United States in terms of assets. Plans of such

great size are commonly referred to as “jumbo plans.” As such, the Plan has

enormous bargaining power by reason of its massive size to command very low

investment management and recordkeeping fees for its participants.

     NYU School of Medicine Retirement Plan for Members of the Faculty,
              Professional Research Staff and Administration

      17.    The NYU School of Medicine Retirement Plan for Members of the

Faculty, Professional Research Staff and Administration (“Medical Plan”) is a

defined contribution, individual account, employee pension benefit plan under 29

U.S.C. §1002(2)(A) and §1002(34).

      18.    The Medical Plan is established and maintained under a written

document in accordance with 29 U.S.C. §1102(a)(1). The Medical Plan was

established effective January 1, 2006. The Medical Plan was most recently amended

and restated effective January 1, 2016.

      19.    The Medical Plan provides for retirement income for employees of the

New York University School of Medicine. That retirement income depends upon

deferrals of the employee’s compensation, contributions made on behalf of each

employee by his or her employer, and performance of investment options net of fees

and expenses.

      20.    As of December 31, 2016, the Medical Plan had $2.0 billion in net

assets and 8,481 participants with account balances. This jumbo plan is among the

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largest 0.06% of defined contribution plans in the United States. As such, the Plan

has enormous bargaining power by reason of its massive size to command very low

investment management and recordkeeping fees for its participants.

      21.    Under the terms of both the Faculty Plan and the Medical Plan,

participants are eligible to contribute a discretionary amount of their annual

compensation to the Plans, and NYU makes a matching contribution.

      22.    The Plans’ fiduciaries choose investment options for the Plans and

participants invest their assets into these investment options. The Plans offer

substantially similar menus of TIAA-CREF and Vanguard investment options

consisting of 101 total options in the Faculty Plan, and 81 in the Medical Plan.

Defendants exercise exclusive discretionary authority and control over the

investment options that are included in the Plans.

                                      Plaintiffs

      23.    Dr. Alan Sacerdote is a Clinical Professor at the NYU School of

Medicine and resides in Brooklyn, New York. He is a participant in the Medical

Plan under 29 U.S.C. §1002(7) because he and his beneficiaries are or may become

eligible to receive benefits under the Plan.

      24.    Dr. Herbert Samuels is a Professor of Pharmacology and Professor

Medicine at the NYU School of Medicine and resides in New Rochelle, New York.

He is a participant in the Medical Plan under 29 U.S.C. §1002(7) because he and his

beneficiaries are or may become eligible to receive benefits under the Plan.

      25.    Mark Crispin Miller is a Professor of Media, Culture, and

Communication at NYU and resides in New York, New York. He is a participant in
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the Faculty Plan under 29 U.S.C. §1002(7) because he and his beneficiaries are or

may become eligible to receive benefits under the Plan.

      26.    Marie Monaco is an Associate Professor in the Department of

Neuroscience and Physiology at NYU School of Medicine and resides in New York,

New York. She is a participant in the Medical Plan under 29 U.S.C. §1002(7)

because she and her beneficiaries are or may become eligible to receive benefits

under the Plan.

      27.    Dr. Shulamith Lala Straussner is a Professor of Social Work at NYU

and resides in New York, New York. She is a participant in the Faculty Plan under

29 U.S.C. §1002(7) because she and her beneficiaries are or may become eligible to

receive benefits under the Plan.

      28.    James B. Brown is an Associate Professor at NYU’s Tisch School of

Arts and resides in New York, New York. He is a participant in the Faculty Plan

under 29 U.S.C. §1002(7) because he and his beneficiaries are or may become

eligible to receive benefits under the Plan.

                                     Defendants

      29.    Upon information and belief, NYU Langone Health System is also

known as New York University School of Medicine (“NYU School of Medicine”).

NYU Langone Health System is a not-for-profit, organized under New York law

with its principal place of business in New York, New York.

      30.    According to the Medical Plan’s Forms 5500 filed with the Department

of Labor, NYU School of Medicine is the administrator of the Medical Plan. NYU

School of Medicine is also the Plan administrator under 29 U.S.C. §1002(16)(A)(i)
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with responsibility and complete discretionary authority to control the operation,

management and administration of the Medical Plan, with all powers necessary to

enable NYU School of Medicine to properly carry out such responsibilities, including

the selection and compensation of the providers of administrative services to the

Plans and the selection, monitoring, and removal of the investment options made

available to participants for the investment of their contributions and provision of

their retirement income.

      31.    The New York University Hospitals Center (“NYU Hospitals Center”)

is a not-for-profit hospital corporation organized under New York law with its

principal place of business in New York, New York. NYU Hospitals Center was

renamed NYU Langone Hospitals effective June 30, 2017.

      32.    The Plans authorize NYU as the Plans’ Administrator to allocate and

delegate, by written instrument, any of its fiduciary duties and responsibilities.

      33.    Pursuant to this authority, NYU and NYU Hospitals Center

constituted the Retirement Plan Committee (the “Committee”) to serve as the Plan

Administrator for the Plans. The 2012, 2014, and 2017 Retirement Plan Committee

Charters set forth that New York University and NYU Hospitals Center established

the Committee “to serve as Plan Administrator for the plans of the Plan Sponsors

(including plans of New York University School of Medicine) . . . pursuant to

authority delegated by the applicable Plan Sponsor.”




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      34.    Under the Committee’s charter, effective June 1, 2008, the Committee

was charged with responsibility for evaluating, selecting, and monitoring

investment options in the Plans.

      35.    The charter provides that the Committee will consist of the individuals

serving in nine specified offices of NYU or NYU Hospitals Center.

      36.    The following persons, who are named as individual Defendants have

served or currently serve as members of the Committee and were employed by NYU

or by NYU Hospital Centers: Richard Bing, Michael Burke, Catherine Casey,

Martin Dorph, Sabrina Ellis, Thomas Feuerstein, Andrew Gordon, Patricia Halley,

Tim Hesler, Kathleen Jacobs, Marina Kartanos, Ann Kraus, Margaret Meagher,

Cynthia Nascimento, Nancy Sanchez, Tina Surh, Linda Woodruff, Maurice

Maertens, Joseph Monteleone, Ray Oquendo, and Chris Tang.

      37.      The Committee and its individual members, Richard Bing, Michael

Burke, Catherine Casey, Martin Dorph, Sabrina Ellis, Thomas Feuerstein, Andrew

Gordon, Patricia Halley, Tim Hesler, Kathleen Jacobs, Marina Kartanos, Ann

Kraus, Margaret Meagher, Cynthia Nascimento, Nancy Sanchez, Tina Surh, Linda

Woodruff, Maurice Maertens, Joseph Monteleone, Ray Oquendo, and Chris Tang

are fiduciaries to the Plans because they exercised discretionary authority or

discretionary control respecting the management of the Plans or exercised authority

or control respecting the management or disposition of their assets, and have

discretionary authority or discretionary responsibility in the administration of the

Plans, as described in more detail below. 29 U.S.C. §1002(21)(A)(i) and (ii).


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                         ERISA’S FIDUCIARY STANDARDS

        38.   ERISA imposes strict fiduciary duties of loyalty and prudence upon the

Defendants as fiduciaries of the Plan. 29 U.S.C. §1104(a), states, in relevant part,

that:

        [A] fiduciary shall discharge his duties with respect to a plan solely in the
        interest of the participants and beneficiaries and –

              (A)     for the exclusive purpose of

                      (i) providing benefits to participants and their beneficiaries; and
                      (ii) defraying reasonable expenses of administering the plan;
              [and]

              (B)     with the care, skill, prudence, and diligence under the
                      circumstances then prevailing that a prudent man acting in a
                      like capacity and familiar with such matters would use in the
                      conduct of an enterprise of like character and with like aims.

        39.   Under ERISA, fiduciaries that exercise any authority or control over

plan assets, including the selection of plan investments and service providers, must

act prudently and for the exclusive benefit of participants in the plan, and not for

the benefit of third parties including service providers to the plan such as

recordkeepers and those who provide investment products. Fiduciaries must ensure

that the amount of fees paid to those service providers is no more than reasonable.

DOL Adv. Op. 97-15A (1997); DOL Adv. Op. 97-16A (1997).

        40.   “[T]he duty to conduct an independent investigation into the merits of

a particular investment” is “the most basic of ERISA’s investment fiduciary duties.”

In re Unisys Savings Plan Litig., 74 F.3d 420, 435 (3d Cir. 1996); Katsaros v. Cody,


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744 F.2d 270, 279 (2d Cir. 1984) (fiduciaries must use “the appropriate methods to

investigate the merits” of plan investments). A defined contribution plan fiduciary

cannot “insulate itself from liability by the simple expedient of including a very

large number of investment alternatives in its portfolio and then shifting to the

participants the responsibility for choosing among them.” Hecker v. Deere & Co., 569

F.3d 708, 711 (7th Cir. 2009). Instead, fiduciaries must “initially determine, and

continue to monitor, the prudence of each investment option available to plan

participants.” DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 423 (4th Cir. 2007)

(emphasis original); see also 29 C.F.R. § 2550.404a-1; DOL Adv. Opinion 98-04A

(1998); DOL Adv. Opinion 88-16A (1988). Fiduciaries have “a continuing duty to

monitor investments and remove imprudent ones” within a reasonable time. Tibble

v. Edison Int’l, 135 S. Ct. 1823, 1828–29 (2015).

      41.      The general fiduciary duties imposed by 29 U.S.C. §1104 are

supplemented by a detailed list of transactions that are expressly prohibited by 29

U.S.C. §1106, and are considered per se violations because they entail a high

potential for abuse. Section 1106(a)(1) states, in pertinent part, that:

            [A] fiduciary with respect to a plan shall not cause the plan to engage in a
            transaction, if he knows or should know that such transaction constitutes
            a direct or indirect –

               (A)    sale or exchange, or leasing, of any property between the plan
                      and a party in interest;
                      ***
               (C)    furnishing of goods, services, or facilities between the plan and
                      party in interest;
               (D)    transfer to, or use by or for the benefit of a party in interest, of
                      any assets of the plan…
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Section 1106(b) provides, in pertinent part, that:

      [A] fiduciary with respect to the plan shall not –

             (1)    deal with the assets of the plan in his own interest or for his own
                    account,

             (2)    in his individual or in any other capacity act in a transaction
                    involving the plan on behalf of a party (or represent a party)
                    whose interests are adverse to the interest of the plan or the
                    interest of its participants or beneficiaries, or

             (3)    receive any consideration for his own personal account from any
                    party dealing with such plan in connection with a transaction
                    involving the assets of the plan.

      42.    Under 29 U.S.C. §1103(c)(1), with certain exceptions not relevant here,

                    the assets of a plan shall never inure to the benefit of any
                    employer and shall be held for the exclusive purposes of
                    providing benefits to participants in the plan and their
                    beneficiaries and defraying reasonable expenses of
                    administering the plan.

      43.    ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries.

29 U.S.C. §1105(a) provides a cause of action against a fiduciary for knowingly

participating in a breach by another fiduciary and knowingly failing to cure any

breach of duty. The statute states, in relevant part, that:

             In addition to any liability which he may have under any other
             provisions of this part, a fiduciary with respect to a plan shall be liable
             for a breach of fiduciary responsibility of another fiduciary with respect
             to the same plan in the following circumstances:




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                    (1)    if he participates knowingly in, or knowingly undertakes
                           to conceal, an act or omission of such other fiduciary,
                           knowing such act or omission is a breach; [or]

                    (2)    if, by his failure to comply with section 1104(a)(1) of this
                           title in the administration of his specific responsibilities
                           which give rise to his status as a fiduciary, he has enabled
                           such other fiduciary to commit a breach; or

                    (3)    if he has knowledge of a breach by such other fiduciary,
                           unless he makes reasonable efforts under the
                           circumstances to remedy the breach.

      44.    29 U.S.C. §1132(a)(2) authorizes a plan participant to bring a civil

action to enforce a breaching fiduciary’s liability to the plan under 29 U.S.C. §1109.

Section 1109(a) provides in relevant part:

         Any person who is a fiduciary with respect to a plan who breaches any of

         the responsibilities, obligations, or duties imposed upon fiduciaries by this

         subchapter shall be personally liable to make good to such plan any losses

         to the plan resulting from each such breach, and to restore to such plan

         any profits of such fiduciary which have been made through use of assets of

         the plan by the fiduciary, and shall be subject to such other equitable or

         remedial relief as the court may deem appropriate, including removal of

         such fiduciary.

                              BACKGROUND FACTS

I.    Defined contribution plans, services, and fees.

      45.    When ERISA was enacted in 1974, defined benefit pension plans were

America’s retirement system. Such plans are now rarely available to employees in


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the private sector. “Defined contribution plans dominate the retirement plan scene

today.” LaRue v. DeWolff, Boberg & Assocs., 552 U.S. 248, 255 (2008).

      46.    These plans allow employees to contribute a percentage of their pre-tax

earnings to the plan, with the employer often matching those contributions up to a

specified percentage. Each participant in the plan has an individual account.

Participants direct the plan contributions into one or more investment options in a

lineup chosen and assembled by the plan’s fiduciaries. “[P]articipants’ retirement

benefits are limited to the value of their own individual investment accounts, which

is determined by the market performance of employee and employer contributions,

less expenses.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1826 (2015).

      47.    The majority of fees assessed to participants in a defined contribution

plan are attributable to two general categories of services: plan administration

(including recordkeeping), and investment management. These expenses “can

sometimes significantly reduce the value of an account in a defined-contribution

plan.” Tibble, 135 S. Ct. at 1826.

      48.    The plan’s fiduciaries have control over defined contribution plan

expenses. The fiduciaries are responsible for hiring administrative service providers

for the plan, such as a recordkeeper, and for negotiating and approving the amount

of fees paid to those administrative service providers. The fiduciaries also have

exclusive control over the menu of investment options to which participants may

direct the assets in their accounts. Those selections each have their own fees which

are deducted from the returns that participants receive on their investments.


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         49.    These fiduciary decisions have the potential to dramatically affect the

amount of money that participants are able to save for retirement. According to the

U.S. Department of Labor, a 1% difference in fees over the course of a 35-year

career makes a difference of 28% in savings at retirement. U.S. Dep’t of Labor, A

Look at 401(k) Plan Fees, at 1–2 (Aug. 2013).2 Accordingly, fiduciaries of defined

contribution plans must engage in a rigorous process to control these costs and

ensure that participants pay no more than a reasonable level of fees. This is

particularly true for multi-billion dollar plans like the Plans, which have the

bargaining power to obtain the highest level of service and the lowest fees. The fees

available to multi-billion dollar retirement plans are orders of magnitude lower

than the much higher retail fees available to small investors.

         50.    The entities that provide services to defined contribution plans have an

incentive to maximize their fees by putting their own higher-cost funds in plans and

collecting the highest amount possible for recordkeeping. For each additional dollar

in fees paid to a service provider, participants’ retirement savings are directly

reduced by the same amount, and participants lose the potential for those lost

assets to grow over the remainder of their careers. Accordingly, participants’

retirement security is directly affected by the diligence used by plan fiduciaries to

control, negotiate, and reduce the plan’s fees.

         51.    Fiduciaries must be cognizant of providers’ self-interest in maximizing

fees, and not simply accede to the providers’ preferred investment lineup—i.e.,

proprietary funds that will generate substantial fee revenue for the provider—or

 2   Available at http://www.dol.gov/ebsa/pdf/401kfeesemployee.pdf.
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agree to the provider’s administrative fee quotes without negotiating or considering

alternatives. In order to act in the exclusive interest of participants and not in the

service providers’ interest, fiduciaries must negotiate as if their own money was at

stake. Instead of simply accepting the investment funds or fees demanded by these

conflicted providers, fiduciaries must consider whether participants would be better

served by using alternative investment products or services.

II.    Defined contribution recordkeeping.

       52.    Recordkeeping is a service necessary for every defined contribution

plan. The recordkeeper keeps track of the amount of each participants’ investments

in the various options in the plan, and typically provides each participant with a

quarterly account statement. The recordkeeper often maintains a plan website or

call center that participants can access to obtain information about the plan and to

review their accounts. The recordkeeper may also provide access to investment

education materials or investment advice. These services are largely commodities,

and the market for recordkeeping services is highly competitive.

       53.    There are numerous recordkeepers in the marketplace who are capable

of providing a high level of service and who will vigorously compete to win a

recordkeeping contract for a jumbo defined contribution plan. These recordkeepers

will readily respond to a request for proposal and will tailor their bids based on the

desired services (e.g., recordkeeping, website, call center, etc.). In light of the

commoditized nature of their services, recordkeepers primarily differentiate

themselves based on price, and will aggressively bid to offer the best price in an

effort to win the business.
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       54.   Some recordkeepers in the market provide only recordkeeping and

administrative services, while others provide both recordkeeping and investment

products. The latter group has an incentive to place their own proprietary products

in the plan in order to maximize revenues from servicing the plan. As explained

below, when faced with such conflicted fund recommendations, fiduciaries must

independently assess whether the provider’s investment product is the best choice

for the plan, or whether the purpose of providing benefits to participants would be

better accomplished by considering other investment managers who may offer

superior funds at a better price.

III.   Defined contribution investment options.

       55.   As noted, defined contribution fiduciaries have exclusive control over

the particular investment alternatives available in the plan to which participants

direct and allocate their plan accounts, and the returns on which are credited to

participants’ accounts.

       56.   Regulations require that participants be able to choose from at least

three investment alternatives, each of which is diversified and has materially

different risk and return characteristics. 29 C.F.R. §2550.404c-1(b)(3). Each

investment alternative is typically a pooled investment product, such as a mutual

fund, and invests in a diversified portfolio of securities in a broad asset class such as

fixed income, bonds, or equities. Fixed income funds are generally conservative

principal protection options, such as stable value funds. Bond funds invest in

diversified portfolios of government or corporate debt securities. Equity funds invest

in diversified portfolios of stocks of large, mid-size, or small domestic or
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international companies in a particular style such as growth or value (or a blend of

the two). Balanced funds invest in a mix of stocks and bonds in varying percentages.

         57.    Equity and bond funds can be passively or actively managed. In a

passively managed or “index” fund, the investment manager attempts to match the

performance of a given benchmark index by holding a representative sample of

securities in that index, such as the S&P 500. In an actively managed fund, the

investment manager uses her judgment in buying and selling individual securities

(e.g., stocks, bonds, etc.) in an attempt to generate investment returns that surpass

a benchmark index, net of fees. Because no stock selection or research is necessary

for the manager to track the index and trading is limited, passively managed

investments charge significantly lower fees than actively managed funds.

         58.    Investors in a mutual fund own shares of the mutual fund rather than

the underlying fund assets. Mutual fund fees are usually expressed as a percentage

of assets under management, or “expense ratio.” For example, if the mutual fund

deducts 1% of fund assets each year in fees, the fund’s expense ratio would be 1%, or

100 basis points (bps).3 The fees deducted from a mutual fund’s assets reduce the

value of the shares owned by fund investors.

         59.    Many mutual funds offer different share classes. Retail share classes

are marketed to individuals with small amounts to invest. Institutional share

classes are offered to investors with large amounts to invest, such as large

retirement plans. The different share classes of a given mutual fund have the

identical manager, are managed identically, and invest in the same portfolio of

 3   One basis point is equal to 1/100th of one percent (or 0.01%).
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securities, which provides the same liquidity to all investors in the fund regardless

of share class. The only difference is that the retail shares charge significantly

higher fees, resulting in retail class investors receiving lower returns. The share

classes are otherwise identical in all respects. Because the underlying assets are

managed at the fund level and investors own shares of the mutual fund, the size

and corresponding number of investors in a share class does not influence other

aspects of the share class such as their management or returns.

      60.    Some mutual funds engage in a practice known as “revenue sharing.”

In a revenue-sharing arrangement, a mutual fund pays a portion of its expense

ratio to the entity providing administrative and recordkeeping services to a plan.

The difference in fees between a mutual fund’s retail and institutional share classes

is often attributable to revenue sharing. To illustrate, a fund’s retail share class

may have an expense ratio of 100 bps, including 25 bps of revenue sharing, while

the institutional share charges 75 bps, with no or lesser revenue sharing. The

presence of revenue sharing thus provides an incentive for administrative service

providers to recommend that the fiduciary select higher cost funds, including in-

house funds of the administrative service provider that pay the provider revenue

sharing.

      61.    Although fees are not the only factor that a fiduciary should consider

when selecting investments, the importance of fees cannot be overstated. Indeed,

“the duty to avoid unwarranted costs is given increased emphasis in the prudent

investor rule” under the common law of trusts, which informs ERISA’s fiduciary


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duties. Restatement (Third) of Trusts ch. 17, intro. note (2007); see Tibble, 135 S. Ct.

at 1828 (citing Restatement (Third) of Trusts § 90 in finding a continuing duty to

monitor under ERISA). As the Restatement explains, “cost-conscious management

is fundamental to prudence in the investment function.” Restatement (Third) of

Trusts § 90 cmt. b. While a fiduciary may consider higher-cost, actively-managed

mutual funds as an alternative to index funds, “active management strategies

involve investigation expenses and other transaction costs . . . that must be

considered, realistically, in relation to the likelihood of increased return from such

strategies.” Restatement (Third) of Trusts ch. 17, intro. note; id. § 90 cmt. h(2).

      62.    Academic and financial industry literature demonstrates that high

expenses are not correlated with superior investment management. Indeed, funds

with high fees on average perform worse than less expensive funds even on a pre-fee

basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When Cheaper is Better: Fee

Determination in the Market for Equity Mutual Funds, 67 J. ECON. BEHAV. & ORG.

871, 873 (2008); see also Jill E. Fisch, Rethinking the Regulation of Securities

Intermediaries, 158 U. PA. L. REV. 1961, 1993 (2010)(summarizing numerous

studies showing that “the most consistent predictor of a fund’s return to investors is

the fund’s expense ratio”).

      [T]he empirical evidence implies that superior management is not
      priced through higher expense ratios. On the contrary, it appears that
      the effect of expenses on after-expense performance (even after
      controlling for funds’ observable characteristics) is more than one-to-
      one, which would imply that low-quality funds charge higher fees.
      Price and quality thus seem to be inversely related in the market for
      actively managed mutual funds.


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Gil-Bazo & Ruiz-Verdu, When Cheaper is Better, at 883.

         63.    In light of this effect of fees on expected returns, fiduciaries must

carefully consider whether the added cost of actively-managed funds is realistically

justified by an expectation of higher returns. Restatement (Third) of Trusts ch. 17,

intro. note; id. § 90 cmt. h(2). Nobel Prize winners in economics have concluded that

virtually no investment manager consistently beats the market over time after fees

are taken into account. “Properly measured, the average actively managed dollar

must underperform the average passively managed dollar, net of costs.” William F.

Sharpe, The Arithmetic of Active Management, 47 FIN. ANALYSTS J. 7, 8 (Jan./Feb.

1991);4 Eugene F. Fama & Kenneth R. French, Luck Versus Skill in the Cross-

Section of Mutual Fund Returns, 65 J. FIN. 1915, 1915 (2010)(“After costs…in terms

of net returns to investors, active investment must be a negative sum game.”).

         64.    To the extent managers show any sustainable ability to beat the

market, the outperformance is nearly always dwarfed by mutual fund expenses.

Fama & French, Luck Versus Skill in the Cross-Section of Mutual Fund Returns, at

1931–34; see also Russ Wermers, Mutual Fund Performance: An Empirical

Decomposition into Stock-Picking Talent, Style, Transaction Costs, and Expenses, 55

J. FIN. 1655, 1690 (2000)(“on a net-return level, the funds underperform broad

market indexes by one percent per year”).

         65.    If an individual high-cost mutual fund exhibits market-beating

performance over a short period of time, studies demonstrate that outperformance



 4   Available at http://www.cfapubs.org/doi/pdf/10.2469/faj.v47.n1.7.
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during a particular period is not predictive of whether a mutual fund will perform

well in the future. Laurent Barras et al., False Discoveries in Mutual Fund

Performance: Measuring Luck in Estimated Alphas, 65 J. FIN. 179, 181 (2010); Mark

M. Carhart, On Persistence in Mutual Fund Performance, 52 J. FIN. 57, 57, 59

(1997)(measuring thirty-one years of mutual fund returns and concluding that

“persistent differences in mutual fund expenses and transaction costs explain

almost all of the predictability in mutual fund returns”). However, the worst-

performing mutual funds show a strong, persistent tendency to continue their poor

performance. Carhart, On Persistence in Mutual Fund Performance, at 57.

      66.    Accordingly, investment costs are of paramount importance to prudent

investment selection, and a prudent investor will not select higher-cost actively

managed funds without a documented process to realistically conclude that the fund

is likely to be that extremely rare exception, if one even exists, that will outperform

its benchmark index over time, net of investment expenses.

IV.   Revenue sharing: a practice that can lead to excessive fees if not
      properly monitored and capped.

      67.    There are two primary methods for defined contribution plans to pay

for recordkeeping and administrative services: “direct” payments from plan assets,

and “indirect” revenue sharing payments from plan investments such as mutual

funds. Plans may use one method or the other exclusively, or may use a combination

of both direct and indirect payments.

      68.    In a typical direct payment arrangement, the fiduciary contracts with

the recordkeeper to obtain administrative services in exchange for a flat annual fee

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based on the number of participants for which the recordkeeper will be providing

services, for example $30 per participant. Jumbo defined contribution plans possess

tremendous economies of scale for purposes of recordkeeping and administrative

fees. A plan with 20,000 participants can obtain a much lower fee on a per-

participant basis than a plan with 2,000 participants.

      69.    A recordkeeper’s cost for providing services depends on the number of

participants in the plan, not the amount of assets in the plan or in an individual

account. The cost of recordkeeping a $75,000 account balance is the same as a

$7,500 account. Accordingly, a flat price based on the number of participants in the

plan ensures that the amount of compensation is tied to the actual services provided

and does not grow based on matters that have nothing to do with the services

provided, such as an increase in plan assets due to market growth or greater plan

contributions by the employee.

      70.    As an example, a fiduciary of a 20,000 participant, $2 billion plan may

issue a request for proposal to several recordkeepers and request that the

respondents provide pricing based on a flat rate for a 20,000 participant plan. If the

winning recordkeeper offers to provide the specified services at a flat rate of $30 per

participant per year, the fiduciary would then contract with the recordkeeper for

the plan to pay a $600,000 direct annual fee (20,000 participants at

$30/participant). If the plan’s assets increase to $3 billion during the course of the

contract but the participant level stays constant, the recordkeeper’s compensation

does not change, because the services provided have not changed.


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      71.    Such a flat per-participant agreement does not necessarily mean,

however, that every participant in the plan must pay the same $30 fee from their

account. To be sure, the fiduciary could reasonably determine that it is equitable to

charge each participant the same $30 (for example, through a quarterly charge of

$7.50 to each account in the plan). Alternatively, the fiduciary could conclude that

assessing the same fee to all investors would discourage participants with relatively

small accounts from participating in the plan, and that, once the aggregate flat fee

for the plan has been determined, a proportional asset-based charge would be best.

In that case, the flat per-participant rate of $30 per participant multiplied by the

number of participants would simply be converted to an asset-based charge, such

that every participant pays the same percentage of his or her account balance. For

the $2 billion plan in our example, each participant would pay a direct

administrative fee of 0.03% of their account balance annually for recordkeeping

($600,000/$2,000,000,000 = 0.0003). If plan assets increase to $3 billion without an

increase in the number of participants, the aggregate fee paid by the plan would not

change. The percentage of assets per participant would decrease to 0.02%—again,

because the services provided have not changed. Under either allocation method,

the plan is paying the same price: $600,000, the amount negotiated at the plan level

for the services to be provided to the plan.

      72.    Some plans use a second method of paying for recordkeeping, through

“indirect” revenue sharing payments from the plan’s mutual funds. Revenue




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sharing, while not a per se violation of ERISA, can lead to excessive fees if not

properly monitored and restrained.

      73.    In a revenue sharing arrangement, the mutual fund pays the plan’s

recordkeeper putatively for providing recordkeeping and administrative services for

the fund. However, because revenue sharing payments are asset-based, the fees can

grow to unreasonable levels if plan assets grow while the number of participants,

and thus the services provided, have not increased at a similar rate. The opposite is

generally not true. If plan assets decline, participants will not receive a sustained

benefit of paying lower fees, because the recordkeeper will demand that the plan

make up the shortfall through additional direct payments.

      74.    If a fiduciary decides to use revenue sharing to pay for recordkeeping,

it is critical to (1) determine and monitor the amount of the revenue sharing and

any other sources of compensation that the provider has received, (2) compare that

amount to the price that would be available on a flat per-participant basis, and (3)

control the amount of fees paid through recordkeeping by obtaining rebates of any

revenue sharing amounts that exceed the reasonable level of fees.

      75.    As to the second critical element—determining the price that would be

available on a flat per-participant basis—making that assessment for a jumbo plan

requires soliciting bids from competing providers. Plans with relatively small

amounts of assets to invest have limited products and services available to them

and are more likely to use an “off-the-rack” platform from a single provider with

standardized features. In contrast, in multi-billion dollar plans with over 10,000


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participants, benchmarking based on fee surveys alone is inadequate.

Recordkeeping fees for jumbo plans have also declined significantly in recent years

due to increased technological efficiency, competition, and increased attention to

fees by sponsors of other plans such that fees that may have been reasonable at one

time may have become excessive based on current market conditions. Accordingly,

the only way to determine the true market price at a given time is to obtain

competitive bids. See George v. Kraft Foods Global, Inc., 641 F.3d 786, 800 (7th Cir.

2011) (noting opinion of independent consultant in similar case “‘without an actual

fee quote comparison’—i.e, a bid from another service provider—[consultant] ‘could

not comment on the competitiveness of [recordkeeper’s] fee amount for the services

provided.’”). Industry experts recognize that this principle applies fully in the

university 403(b) context. Compared to benchmarking, “the RFP is a far better way

to negotiate fee and service improvements for higher education organizations.”

Fiduciary Plan Governance, LLC, Buying Power for Higher Education Institutions:

When you Have It and When You Don’t – Part 2.5 Indeed, “[c]onducting periodic due

diligence RFPs is a critical part of fulfilling the fiduciary duty.” Western PA

Healthcare News, 403(b) Retirement Plans: Why a Due Diligence Request for

Proposal.2 Engaging in in this RFP process “allows plan sponsors . . . to meet their

fiduciary obligations, provides leverage to renegotiate services and fees; enhances

service and investment opportunities and improves overall plan operation.” Id.

Prudent fiduciaries of defined contribution plans—including university 403(b)


 5 http://www.fiduciaryplangovernance.com/blog/buying-power-for-higher-education-
institutions-when-you-have-it-and-when-you-dont-part-2
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plans—thus obtain competitive bids for recordkeeping at regular intervals of

approximately three years.

V.    Bundled services and open architecture.

      76.    As the prevalence and asset size of defined contribution plans grew, in

the shift away from traditional defined benefit pension plans, numerous financial

services entered this burgeoning retirement plan market. These providers often

marketed “bundled” plans, offering to assist in the setting up a plan and which

included a package of the provider’s proprietary investment funds as well as

administrative and recordkeeping services. The plans were often marketed as “free”

plans, meaning there were supposedly no additional fees beyond the revenues the

provider received from having their investment funds in the plan. These

purportedly free plans had a significant caveat—in order to obtain the free pricing,

the fiduciary had to agree to put the provider’s preferred investment lineup in the

plan—a group of hand-picked funds that would guarantee the provider would

receive its desired fee revenue on an ongoing basis. Any deviations from that lineup

or removal of funds after the plan was established would require the provider’s

approval or result in the plan being assessed additional direct fees. Thus, under

these closed arrangements, funds were often included in defined contribution plans

not based on an independent analysis of their merits or what was in the best

interests of participants, but because of the benefits they provided to the plan’s

service providers.

      77.    In the years since the final regulations were published, fiduciaries of

jumbo defined contribution plans have largely rejected closed architecture and
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bundling, demanded an open architecture model for the plan’s investment platform.

In an open architecture model, a plan is not limited to the recordkeeper’s own

proprietary investment products, which the provider has an interest in including in

the plan because the funds provide it with revenue sharing and investment fees.

Instead, the fiduciary is free to reject the recordkeeper’s conflicted fund

recommendations, and can independently assess whether another investment

manager offers a superior product at a more attractive price, and can include such

funds in the plan’s investment lineup. Open architecture also facilitates negotiation

of reasonable recordkeeping fees, since the price of the recordkeeping service is

more transparent and not obscured by opaque revenue sharing arrangements—

through which the investment product provider does not publicize the amount of

revenue sharing it kicks back to itself in its separate role as a recordkeeper—and

can be negotiated separately without investment revenue skewing the

recordkeeping price. There are recordkeepers in the market that exclusively operate

on an open architecture basis in that they do recordkeeping only and do not sell

investment products. These providers can offer pricing on a pure per-participant

basis, without any revenue sharing component taken from funds in the plan. While

open, transparent architecture allows for greater control over revenue sharing

arrangements, and indeed, allows a fiduciary to eliminate them altogether, to the

extent revenue sharing payments are still used they can effectively be “kickbacks”

to induce recordkeepers to advocate for the fund to be included in the plan’s

investment lineup.


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VI.   History of 403(b) plans and 401(k) plans—more similarities than
      differences.

      78.    Defined contribution plans can qualify for favored tax treatment under

different sections of the Internal Revenue Code. Plans offered by corporate

employers typically qualify under 26 U.S.C. §401(k), and are commonly referred to

as 401(k) plans. Tax-exempt organizations, public schools (including state colleges

and universities), and churches are eligible to offer plans qualified under §403(b),

commonly known as 403(b) plans. 26 U.S.C. §403(b)(1)(A).

      79.    403(b) plans sponsored by churches and governmental employers such

as public schools are exempt from Title I of ERISA, including fiduciary obligations.

29 U.S.C. §1003(b)(1), (2). Plans sponsored by tax-exempt organizations such as

private universities are subject to Title I of ERISA and its fiduciary requirements,

unless the plan satisfies a 1979 “safe-harbor” regulation based on the employer

having limited involvement in operating the plan. 29 C.F.R. §2510.3-2(f).

      80.    Although 401(k) plans and 403(b) plans have different historical

origins, legislative and regulatory developments over a number of decades largely

eroded those differences, as reflected in final 403(b) regulations published by the

IRS on July 26, 2007, which required certain employers to become more involved

with administering their plans than they had previously. Sponsors of 403(b) plans

were given almost one-and-a-half years to prepare for the effective date of the

regulations, January 1, 2009. Once these regulations were published, many non-

profit plan sponsors whose 403(b) programs previously qualified for the safe-harbor




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determined they would have to comply with ERISA’s fiduciary requirements by the

regulations’ effective date of January 1, 2009.

      81.    In the Plans’ Forms 5500 filed with the Department of Labor,

Defendants have acknowledged that the Plans are subject to ERISA. To the best of

Plaintiffs’ knowledge, the Plans have never qualified for the safe harbor, and thus

have been subject to ERISA’s fiduciary requirements well before the IRS published

its 403(b) regulations in 2007.

      82.    When §403(b) was first enacted in 1958, plan assets could only be

invested in insurance company annuity contracts. 26 U.S.C. §403(b)(1). In 1974,

§403(b) was amended to allow 403(b) plans to invest in custodial accounts holding

mutual fund shares. 26 U.S.C. §403(b)(7). While many 401(k) plans also invest in

mutual funds, such plans may also offer alternatives to mutual funds such as

collective trusts and separate accounts, which provide substantially similar

investment management services but have lower expenses than mutual funds.

      83.    Regardless of these differences, 401(k) and 403(b) plans both have the

same fundamental purpose: allowing employees to save for a secure retirement. The

duties of fiduciaries in both are the same: to operate as a financial expert familiar

with investment practices, operate the plan for the exclusive benefit of employees

and retirees, and to make sure that fees are reasonable and investments are

prudent. Participants in both types of plans depend on their plan fiduciaries to

ensure that those savings are not depleted by excessive fees or imprudent

investments. Accordingly, the historical differences and investment limitations of


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403(b) plans do not allow 403(b) fiduciaries to exercise a lesser degree of care or

attention to fees and investments than their 401(k) counterparts.

VII.   Historical practice of multiple recordkeepers and a proliferation of
       investment options in 403(b) plans.

       84.   As the Department of Labor has recognized, historically, many 403(b)

sponsors had treated their plans as a collection of individual contracts under which

employees could take various actions without the consent or involvement of the

employer or plan administrator. Field Assistance Bulletin 2009-02.

       85.   Many 403(b) plans historically before 2009 included multiple bundled

service providers, with each performing the recordkeeping function for its own

investment products in the plan. In fact, “403(b) plan investment options were often

‘sold’ by record keepers and their representatives rather than offered by plan

sponsors as evaluated investments.” Fiduciary Plan Governance, LLC, Legacy

Investments in Higher Education: What is a Plan Sponsor’s Responsibility to

Participants?6 Indeed, sponsors of these plans often took a “‘hands off’ approach to

plan oversight.” Id. This practice resulted in plans having costly, inefficient

structures involving multiple recordkeepers with each recordkeeper having its own

investment option in the plan, leaving participants with the task of navigating a

haphazard collection of duplicative and overlapping investment options from the

various recordkeepers, and ultimately led to them paying excessive and

unnecessary fees. Id. In some cases the recordkeeper insisted on its own funds being



 6http://www.fiduciaryplangovernance.com/blog/legacy-investments-in-higher-education-
what-is-a-plan-sponsors-responsibility-to-participants.
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included in the plan without any resistance or analysis of those funds by the

fiduciaries.

VIII. TIAA-CREF’s bundled 403(b) plan services.

      86.      TIAA-CREF is an insurance company financial services provider that

historically has dominated the market for services to educational institution 403(b)

plans. TIAA-CREF consists of two companion organizations: Teachers Insurance

and Annuity Association of America (TIAA), and College Retirement Equities Fund

(“CREF”). The services that TIAA-CREF provides to 403(b) plans include annuities,

mutual funds, insurance coverage, trust services, and administrative services.

      87.      Although TIAA-CREF’s marketing materials suggest that it is a

“nonprofit” organization, that is misleading. Since 1998, both TIAA and CREF have

been subject to federal income taxation following a decision by Congress to revoke

the organization’s status as a tax-deductible 501(c)(3) charitable organization. This

revocation of tax-deductible status was initiated because TIAA-CREF “competed

directly with for-profit insurance companies and mutual fund groups.”7

      88.      While CREF is organized as a New York not-for-profit

corporation, TIAA is organized as a for-profit stock life insurance company. TIAA’s

“operating surplus” is spent, loaned, and otherwise distributed to more than a dozen

TIAA subsidiaries and affiliates that operate on a for-profit basis, including Nuveen

Investments, which TIAA acquired in April 2014 for an enterprise value of $6.25



 7 Reed Abelson, Budget Deal to Cost T.I.A.A.-C.R.E.F. Its Tax Exemption, N.Y. Times (July
30, 2007), available at http://www.nytimes.com/1997/07/30/business/budget-deal-to-cost-
tiaa-cref-its-tax-exemption.html.
                                           37
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billion. TIAA receives dividends from these for-profit subsidiaries.8 Consistent with

its conduct as a profit-seeking enterprise, the compensation of TIAA’s CEO and

other executives is on par with or greater than executives of some of Wall Street’s

largest for-profit investment managers and insurance companies, such as J.P.

Morgan Chase, Prudential, Deutsche Bank, and Metlife. In 2015, TIAA’s CEO

received $18 million in compensation,9 more than the CEOs of Metlife ($14 million)

and Deutsche Bank ($5.2 million), and just below the CEOs of J.P. Morgan Chase

($18.2 million) and Prudential ($19.9 million). When expressed as a percentage of

assets under management, TIAA’s CEO had the highest compensation rate of any of

those companies. In fact, TIAA’s five highest-ranking “named executive officers”

earned a combined total of well over $40 million in compensation in 2015.

      89.    TIAA’s disclosures further state that its employees’ compensation and

benefits programs are designed to “align their interests with those of the Company’s

participants by linking pay to long-term growth and profitability.”10 (emphasis

added).

      90.    Responding to criticism that TIAA-CREF’s CEO and other executives

“garnered salaries and bonuses significantly greater than similar pension fund

operations,” TIAA-CREF responded that such exorbitant pay was justified because

“the company had to compete for top-level employees with major financial services



 8 https://www.tiaa.org/public/pdf/C16623_where-tiaa-profits-go.pdf.
 9 TIAA Compensation Disclosures, Executive Compensation Discussion and Analysis 20
(May 2016), https://www.tiaa.org/public/pdf/about/governance/exec_comp_policy.pdf.
 10 TIAA Compensation Disclosures, Executive Compensation Discussion and Analysis 3

(May 2016), https://www.tiaa.org/public/pdf/about/governance/exec_comp_policy.pdf.
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corporations.”11 Critics found this justification dubious because the “flagship CREF

Stock Account, an equity portfolio of $59 billion, was primarily indexed to the

Russell 3000,” meaning that “CREF automatically invested nearly two of every

three dollars in companies held by the benchmark fund,” leaving “little for the

highly paid officers to manage.” Id.

      91.    TIAA used its position as recordkeeper to obtain access to participants,

learning their ages, length of employment, contact information, the size of their

accounts, and choices of investments, and used that information for its benefit in

marketing lucrative investment products and wealth management products to

participants as they neared retirement and before retirement. This has been

documented by former TIAA employees in multiple recent reports in the New York

Times.12

      92.    A recent New York Times article dated November 9, 2017, states that

New York’s attorney general has issued subpoenas to TIAA for documents related to

its “dubious” sales practices. Id. The article goes on: “TIAA has previously said it

puts its clients first and has maintained that because its 855 financial advisers and

consultants do not receive commissions on the products they sell they are unbiased.

But former employees and TIAA regulatory filings challenge this view, pointing out

 11  Funding Universe, Teachers Insurance and Annuities Association – College Retirement
Equities Fund History, http://www.fundinguniverse.com/company-histories/teachers-
insurance-and-annuity-association-college-retirement-equities-fund-history/.
  12 Gretchen Morgenson , The Finger-Pointing at the Finance Firm TIAA, N.Y. Times, Oct.

21, 2017, https://www.nytimes.com/2017/10/21/business/the-finger-pointing-at-the-finance-
firm-tiaa.html. See also Gretchen Morgenson, TIAA Receives New York Subpoena on Sales
Practices, N.Y. Times, Nov. 9, 2017, https://www.nytimes.com/2017/11/09/business/tiaa-
subpoena.html.

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that the company awards bonuses to sales personnel when they steer customers

into more expensive in-house products and services.” Id. The article also describes

how TIAA’s role as a recordkeeper provides TIAA with access to sell individuals

additional investment products through IRAs. “Most of TIAA’s clients invest with

the firm because their employers have hired it to administer their workers’

retirement plans . . . The company earns a record-keeping fee from the institutions

whose accounts it oversees, but can generate far more revenue when investors buy

its annuities and funds. This presents the potential for conflict.” Id.

      93.    The value of TIAA’s use of its position as a recordkeeper to the Plans to

market and sell lucrative products to soon-to-be-retired participants and retired

participants was substantial and far greater than would be true of recordkeepers

who do not sell investment products, thus conveying a stamp of approval by

Defendants of TIAA.

      94.    Despite this, Defendants allowed TIAA to market and sell its services

and investment products in this way, benefitting TIAA enormously, yet obtaining

no benefit to the Plan from this, either by reduced recordkeeping fees or requiring

TIAA to make direct payments to the Plans for the use of this information. This is

even more lucrative to TIAA because Defendants are using TIAA as a recordkeeping

and using their products.

      95.    In benchmarking (and justifying) its executives’ compensation

packages, TIAA disclosed the following sixteen for-profit financial services and

insurance companies as the peer group it used for competitive analysis:


                                           40
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      96.    TIAA-CREF offered its 403(b) plan services exclusively on a bundled

basis. If a plan wished to offer the TIAA Traditional Annuity, TIAA-CREF required

that the CREF Stock Account and Money Market Account also be offered to

participants, and required the plan to use TIAA as recordkeeper for its proprietary

products. Thus, by using TIAA-CREF, fiduciaries locked their plans into an

arrangement in which certain investments could not be removed from the plan—

even if the funds were no longer prudent investments. This arrangement also

precluded the fiduciary from implementing an open architecture platform and using

another recordkeeper who could provide the same administrative services at lower

cost. If a plan desired to offer investments from an additional provider, the plan had

to use multiple recordkeepers, resulting in an inefficient and excessively expensive

plan structure, as described in more detail below.

      97.    There is no shortage of high-quality, low-cost alternatives to TIAA-

CREF’s products in the defined contribution plan market. Many 403(b) plan

fiduciaries have recognized that stable value funds are prudent alternatives to

TIAA’s Traditional Annuity as a conservative principal preservation option

providing superior returns to a money market fund, and can be recordkept by


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virtually any defined contribution recordkeeper. Other insurance companies also

offer fixed annuity products. And there are myriad large cap blend mutual fund

investments in the market that provide far superior returns to the CREF Stock

account at much lower cost. In light of TIAA-CREF’s restrictions and superior

alternatives in the market that do not impose such restrictions, fiduciaries of 403(b)

defined contribution plans must engage in a cost-benefit analysis to determine

whether it is prudent and in the interest of participants to lock their plans into an

arrangement that precludes the removal of imprudent plan investments and results

in excessive plan fees, or whether participants would be better served by using

superior low-cost alternatives to TIAA-CREF’s products and saving millions of

dollars in administrative and investment management costs by hiring a different

recordkeeper. As explained below, many 403(b) fiduciaries have engaged in this

analysis and overhauled their plans for the benefit of participants.

IX.   Move to consolidation and open architecture in 403(b) plans.

      98.    As noted, under the 2007 final regulations that became effective

January 1, 2009,13 employers with 403(b) plans were compelled to exercise greater

control over their 403(b) plans than they had previously. Among other things, the

final regulations required 403(b) plans to be maintained under a “written defined

contribution plan” containing all the material terms and conditions for benefits

under the plan. DOL separately published revised Form 5500 annual reporting

rules effective for 2009 that required large ERISA-covered 403(b) plans to file


 13The DOL gave 403(b) plans almost a year and a half to make changes necessary to
comply before the regulation became effective January 1, 2009.
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audited financial statements providing detailed information about the assets in the

plan. The regulations are expressly intended to make 403(b) plans more like 401(k)

plans.

         99.    Once the final regulations were published, many 403(b) plan

fiduciaries recognized that fulfilling their fiduciary obligations required them to

engage, if they had not already been doing so, in a comprehensive review of their

plans’ fees, investment options and structure, and service provider arrangements, to

determine whether changes had to be made for the benefit of participants. There

could be no doubt, if there had been any before, that fiduciaries could not just accept

investment options provided by the same providers who did recordkeeping for the

plan and to comply with ERISA’s requirements that all fees are reasonable.

         100.   As a result, the fiduciaries of hundreds of 403(b) plans implemented

dramatic overhauls to their plans and acknowledged that these changes were

necessary to comply with the IRS regulations and to satisfy their continuing

fiduciary obligations under ERISA.

         101.   For example, the fiduciaries of the Loyola Marymount University

(LMU) Defined Contribution Plan, a 403(b) plan, recognized that under the new

regulations, “Recordkeeping must be consolidated and/or managed by a single

party.”14 Beginning in 2008, to assist LMU in assessing the plan’s investment

options and recordkeeping services, LMU hired an independent third party

consultant, Hewitt Associates (n/k/a Aon Hewitt), to issue a request for proposal to


 14 See LMU 403(b) Retirement Plan Project Overview, at 1, available at
http://www.lmu.edu/AssetFactory.aspx?vid=33038
                                            43
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seven different 403(b) recordkeeping providers, including AIG Retirement,

Diversified Investment Advisors, Fidelity, ING, Lincoln Financial Group, Principal

Financial Group, and TAA-CREF.15 LMU consolidated from two recordkeepers to

one effective on the date the final regulation became effective, January 1, 2009.

Loyola Marymount’s fiduciaries recognized that a dual recordkeeper structure

would require its employees to pay higher fees for overlapping services, and because

consultants, legal counsel, and all of the recordkeeping firms interviewed

recommended that LMU use only one record keeper, starting in January 2009.16

Moreover, LMU selected Diversified as the new recordkeeper because Diversified “is

not an investment manager and therefore, does not require that certain investment

options be offered by LMU.” LMU was therefore able to offer “best in class” funds in

each fund category.17

       102.   Similarly, following the new IRS 403(b) regulations, the fiduciaries of

the Pepperdine University Retirement Plan recognized the implications of

maintaining four different recordkeepers. In order to comply with the regulations

and its fiduciary responsibilities, Pepperdine determined that it must make certain

changes to the plan, including “Consolidating recordkeeping (by having one fund

provider manage administration for multiple providers or by moving to a sole

administrator scenario).”18 Pepperdine retained an independent third party

consultant to assist the fiduciaries in issuing a request for proposal to different

 15  See http://www.lmu.edu/AssetFactory.aspx?vid=32045.
 16  LMU 403(b) Retirement Plan Project Overview, at 2.
  17 Id. at 6.
  18 See Pepperdine University Participant Q & A, available at

http://community.pepperdine.edu/hr/content/benefits/fulltime/faq.pdf.
                                            44
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403(b) recordkeeping providers. Following the competitive bidding process, effective

February 1, 2009, Pepperdine selected Diversified, a recordkeeper which does not

offer proprietary investments, as the “sole administrator” and consolidated from

four recordkeepers (Fidelity, TIAA-CREF, Vanguard and Prudential) to a single

recordkeeper. Pepperdine found that the benefits of consolidation included lower

costs and more robust services, as well as a streamlined compliance process and

simplified data coordination.19 Pepperdine acknowledged that maintaining a

multiple-vendor platform was not a “cost-effective, viable option.”20 Recognizing the

inefficiencies and overlapping work in a multiple recordkeeper arrangement,

Pepperdine determined that costs were “higher in a multivendor arrangement,

because each vendor receives only a portion of the ongoing total plan contributions,”

while a single provider allowed to “realize true economies of scale.”21

      103.   Pepperdine also recognized that the bundled model demanded by

certain providers was not in participants’ interest. Using those providers “meant

being obligated to offer some or all of that provider’s proprietary funds on the plan's

investment menu—whether or not those investments offered participants the best

range of choice, value, and relative performance.” 22 (emphasis added). Acting in

participants’ interest required that the fiduciaries instead have the ability to select

those “funds that the university—working with an independent financial adviser—


 19 Id.
 20 Paul B. Lasiter, Single Provider, Multiple Choices, NACUBO, available at
http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_2010/Single_
Provider_Multiple_Choices.html.
  21 Id.
  22 Id.

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could identify as being the ‘best options in their respective asset classes.’”23 After

weighing and analyzing a variety of factors, Pepperdine determined that

“consolidating with a single vendor has been the straightforward solution to

achieving” the objective of acting “for the exclusive benefit of plan participants.” The

benefits of consolidation included “[a] better fiduciary process with ongoing

evaluation” of plan investments, “[e]conomies of scale,” and “[g]reater transparency

of fees and lowered costs for plan participants.”24

      104.   In the fall of 2008, in response to the new, not yet effective regulations

and required changes within the defined contribution industry, Purdue University

began a comprehensive review of its defined contribution retirement program.

Purdue recognized that “[t]he primary intent of the regulations was to reduce the

difference between Section 403(b) plans, Section 401(k) plans and Section 457(b)

plans; to enhance 403(b) plan compliance; and to establish a more structured

retirement program for employees in the non-profit sector.” (emphasis added).25

Purdue hired an independent third party consultant, EnnisKnupp & Associates

(n/k/a Aon Hewitt), to assist the fiduciaries in evaluating the investment options,

participants’ fees, and recordkeeping services, which included developing and

issuing an RFP to recordkeepers. The “benefits” of Purdue’s program enhancements

included the transition from five providers (TIAA-CREF, Fidelity, American


 23  Id.
 24  Id.
  25 James S. Almond, 403(b) Plan Redesign–Making a Good Retirement Plan Better,

Purdue University, available at http://www.cacubo.org/wp-
content/uploads/2016/02/10_403b_Plan_Redesign_Making_a_Good_Retirement_Plan_Better
.docx. (emphasis added).
                                           46
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Century, Lincoln, and VALIC) to a single administrative service provider (Fidelity)

with a corresponding significant reduction in recordkeeping expenses. The reformed

plan “[p]rovided a transparent investment and administrative fee structure” and

“[l]everaged plan assets to lower administrative and investment fees, including

access to institutional share class funds and a flat administrative fee, instead of

administrative fees as a percentage of retirement savings.” Purdue reduced the

number of investment options from 381 to 19, “eliminating redundant investment

options with varying levels of expenses” and replacing the menu of duplicative

investment options with “a limited menu of pre-screened, broadly diversified

investment options.”26 Purdue’s analysis showed that “reducing administrative and

investment plan fees under the new structure for a plan of Purdue’s size, would

increase participant balances by an estimated $3–4 million per year which is then

compounded over time.” (emphasis added).

      105.   Likewise, California Institute of Technology (CalTech) TIAA-CREF DC

Retirement Plan consolidated from multiple recordkeepers (TIAA-CREF and

Fidelity) to a single recordkeeper (TIAA-CREF) effective January 1, 2010, with the

assistance of an independent third party consultant, Mercer Investment

Consulting.27 In selecting a core set of investment options for the plan, CalTech

eliminated over 100 Fidelity mutual fund options. Based on disclosures in the plan’s

Form 5500s filed with the Department of Labor, between 2013 and 2015, CalTech


 26Id.
 27Caltech Names TIAA-CREF Recordkeeper, Institutional Investor (Dec. 10, 2009),
available at http://www.institutionalinvestor.com/Article/2355324/Search/Caltech-Names-
TIAA-CREF-Record-Keeper.html#/.WBn8Oy0rKpp.
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negotiated over $15 million in revenue sharing rebates from TIAA-CREF, which

was returned to the plan to benefit participants.

      106.   Extensive industry literature shows that these sponsors are not

outliers, and that similarly situated fiduciaries who have also comprehensively

reviewed their plans have been able to reduce fees, consolidate recordkeepers and

investment options, leading to enhanced outcomes and retirement security for their

plans’ participants.

      107.   In connection with a plan redesign project at the University of Notre

Dame, independent investment consultant Hewitt EnnisKnupp (n/k/a Aon Hewitt)

issued a “403(b) Plan Redesign Working Paper” which set forth 403(b) fiduciary best

practices taken in response to the IRS 403(b) regulations.28 Hewitt noted that

“[w]ith the issuance of new Internal Revenue Service regulations in 2008, there has

been an accelerated evolution of the 403(b) marketplace into something that more

closely resembles the private sector 401(k) market.”29

      108.   Hewitt noted several areas of plan improvements. First, recordkeeper

consolidation provided “many benefits to participants,” including cost savings.

Although the multiple-recordkeeper model had been common in the higher-

education marketplace, “[e]xperience and research suggests that this type of

administrative structure can be costly and confusing to faculty and staff.”30 “The


 28 Hewitt EnnisKnupp, 403(b) Plan Redesign Working Paper: University of Notre Dame
(Feb. 2014), available at https://workplacecontent.fidelity.com/bin-
public/070_NB_PreLogin_Pages/documents/ND_403(b)%20Plan%20Redesign%20White%20
Paper.pdf.
 29 Id. at 3.
 30 Id. at 4.

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multiple-recordkeeper model tends to divide participant assets into individual

accounts held at separate recordkeepers resulting in costs that are meaningfully

higher than under a single recordkeeper model.”31 Such “[e]xcess fees and

misallocated costs are a potential threat to the financial security of many defined

contribution plan participants.”32

      109.   Second, Hewitt recommended that plans “unbundl[e]” investment

management and administrative services, and replace revenue sharing

arrangements with “explicit, hard dollar administrative fee[s].” Hewitt’s “experience

and research suggests that the transparency gained through an ‘unbundled’

administrative fee solution with little or no revenue sharing typically results in

meaningful fee savings for participants.”33 An unbundled arrangement allows plan

fiduciaries “to determine whether or not the internal administrative fee allocations

used by the existing bundled recordkeepers is a true representation of the costs of

these services.” An unbundled arrangement also provided opportunities to

incorporate “‘institutional’ share classes of funds” into the investment lineup.

      110.   According to a 2013 survey of 403(b) plans, more than 90% of plans use

a single recordkeeper to provide administrative and recordkeeping services to

participants. See LIMRA Retirement Research, 403(b) Plan Sponsor Research

(2013).34


 31 Id. at 5.
 32 Id.
 33 Id. at 6.
 34 Available at

http://www.limra.com/uploadedFiles/limracom/LIMRA_Root/Secure_Retirement_Institute/
News_Center/Reports/130329-01exec.pdf.
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       111.   Annual surveys by Plan Sponsor Council of America found that in each

year from 2010 through 2014, the overwhelming majority of 403(b) plans—over

80%—have only a single recordkeeper, and provide an average of 28 investment

fund options.35 An earlier PSCA survey of 403(b) plans found that as of 2009, 57% of

403(b) plan fiduciaries had made changes to their plans as a result of the new

403(b) regulations that became effective January 1, 2009.36

       112.   The majority of plans use a single recordkeeper because a “multi-

recordkeeper platform is inefficient” and squanders the ability to leverage a

plan’s bargaining power. The Standard Retirement Services, Inc., Fixing Your

403(b) Plan: Adopting a Best Practices Approach, at 2 (Nov. 2009)(emphasis in

original).37 “By selecting a single recordkeeper, plan sponsors can enhance their

purchasing power and negotiate lower, transparent investment fees for

participants,” while allowing participants to “benefit from a more manageable

number of institutional-quality investment options to choose from.”38 Additional

benefits of a single recordkeeper platform include simplifying personnel and payroll

data feeds, reducing electronic fund transfers, and avoiding duplication of services

when more than one recordkeeper is used.



 35 Each PSCA survey covers the year prior to the year indicated in the title. PSCA’s 2015
Benchmarking Survey of 403(b) Plans, at 32, 65; PSCA’s 2014 Benchmarking Survey of
403(b) Plans, at 32, 61; PSCA’s 2013 Benchmarking Survey of 403(b) Plans, at 32, 61, 64;
PSCA’s 2013 Benchmarking Survey of 403(b) Plans, at 32, 61, 64; PSCA’s 2012
Benchmarking Survey of 403(b) Plans, at 30, 61, 64; PSCA’s 2012 Benchmarking Survey of
403(b) Plans, at 30, 61, 64; PSCA’s 2011 Benchmarking Survey of 403(b) Plans, at 28, 55,
59.
 36 PSCA’s 2010 Benchmarking Survey of 403(b) Plans at 45.

 37 Available at https://www.standard.com/pensions/publications/14883_1109.pdf.
 38 Id.

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      113.   AonHewitt, an independent investment consultant, similarly

recognized that “403(b) plan sponsors can dramatically reduce participant-borne

costs while improving employees’ retirement readiness by” “[c]onsolidating

recordkeepers,” “[l]everaging aggregate plan size and scale to negotiate competitive

pricing, and reducing the number of investment options and “utilizing an ‘open

architecture’ investment menu[.]” AonHewitt, How 403(b) Plans Are Wasting Nearly

$10 Billion Annually, and What Can Be Done to Fix It (Jan. 2016).39

      114.   Another independent investment consultant, Towers Watson, also

recognized that using multiple recordkeepers makes it “difficult for employers to

monitor available choices and provide ongoing oversight” while harming

participants through “high investment and administrative costs” and a lack of

guidance needed to achieve retirement readiness. Peter Grant and Gary Kilpatrick,

Higher Education’s Response to a New Defined Contribution Environment, TOWERS

WATSON VIEWPOINTS, at 2 (2012).40

      115.   Other industry literature further supports the fact that the use of a

single recordkeeper provides reasonable fees. See, e.g., Kristen Heinzinger, Paring

Down Providers: A 403(b) Sponsor’s Experience, PLANSPONSOR (Dec. 6, 2012)(“One

advantage of consolidating to a single provider was an overall drop in

administrative fees and expenses. Recordkeeping basis points returned to the plan

 39 Available at https://retirementandinvestmentblog.aon.com/getattachment/36ff81a4-
db35-4bc0-aac1-
1685d2a64078/How_403(b)_Plans_are_Wasting_Nearly_$10_Billion_Annually_Whitepaper
_FINAL.pdf.aspx.
 40 Available at

https://www.towerswatson.com/DownloadMedia.aspx?media=%7B08A2F366-14E3-4C52-
BB78-8930F598FD26%7D.
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sponsors rather than to the vendor. All plan money aggregated into a single

platform, and participants were able to save on fee structure. This also eliminated

the complications and confusion of having three different recordkeepers.”);41 Paul B.

Lasiter, Single Provider, Multiple Choices, BUSINESS OFFICER (Mar.

2010)(identifying, among other things, the key disadvantages of maintaining a

multi-provider platform including the fact that it is “cumbersome and costly to

continue overseeing multiple vendors.”).42

      116.   Use of a single recordkeeper is also less confusing to participants and

eliminates excessive, overlapping recordkeeping fees. Vendor Consolidation in

Higher Education: Getting More from Less, PLANSPONSOR (July 29,

2010)(recognizing the following benefits, among others: “The plan participant

experience is better” because “employees are benefiting from less confusion as a

result of fewer vendors in the mix”; “Administrative burden is lessened” by

“bringing new efficiencies to the payroll”; and “Costs can be reduced” because

“[w]ith a reduced number of vendors in the equation, plan sponsors are better able

to negotiate fees” and many are “reporting lower overall cost resulting in an

improved cost-per-participant ratio”).43




 41 Available at http://www.plansponsor.com/paring-down-providers-a-403b-sponsors-
experience/?fullstory=true.
  42 Available at

http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_2010/Single_
Provider_Multiple_Choices.html.
 43 Available at http://www.plansponsor.com/vendor-consolidation-in-higher-

education/?fullstory=true.
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       DEFENDANTS BREACHED THEIR FIDUCIARY DUTIES AND
            COMMITTED PROHIBITED TRANSACTIONS

      117.   The use of multiple recordkeepers and proprietary funds required by

the recordkeepers to be included in the Plans shows that, in contrast to the

comprehensive plan reviews conducted by the 403(b) plan fiduciaries described

above, Defendants failed to adequately engage in a similar analysis. Had

Defendants conducted such a review of the Plans, Defendants would not have

allowed the Plans to continue to pay excessive administrative fees; would not have

maintained an inefficient multi-recordkeeper structure; would not have continued

to include over 100 investment options in the Plans, including duplicative funds in

numerous investment styles and higher-cost retail share classes for which an

identical lower-cost version of the same fund was available; and would not have

retained investment options in the Plans despite a sustained track record of

underperformance. This follows because a prudent process would have produced a

different outcome.

I.    The Plans’ investments

      118.   Defendants exercise discretionary authority and control over the

investment options that are included in the Plans.

      119.   For both Plans, Defendants provided mutual funds and insurance

company variable annuity products as investment options. The investment options

are offered by TIAA-CREF and the Vanguard Group, Inc. (“Vanguard”). Defendants

select investment options into which participants’ investments are directed, and




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determine whether to remove investment options from the Faculty Plan and the

Medical Plan.

      120.   As of December 31, 2016, Defendants designated a total of 101

investment alternatives as options in the Faculty Plan, including 27 TIAA-CREF

investments and 74 Vanguard investments. These investments included mutual

funds (many of which had identical lower-cost share classes available, as explained

below), an insurance separate account, variable annuity options, and a fixed

annuity option.

      121.   As of December 31, 2016, Defendants designated a total of 82

investment alternatives as options in the Medical Plan, including 11 TIAA-CREF

investments and 71 Vanguard investments. These investments also included

mutual funds (many of which had identical lower-cost share classes available, as

explained below), an insurance separate account, variable annuity options, and a

fixed annuity option.

II.   Defendants improperly allowed TIAA-CREF to require inclusion of
      its investment products in the Plans and that it provide
      recordkeeping services for its proprietary options.

      122.   ERISA requires fiduciaries to independently evaluate the prudence of

each investment option offered in a defined contribution plan, DiFelice, 497 F.3d at

423, and to remove imprudent investments within a reasonable time, Tibble, 135 S.

Ct. at 1828–29.

      123.   As noted, TIAA-CREF offered its products and services strictly on a

bundled basis. If a plan offers the TIAA Traditional Annuity, TIAA-CREF required


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that the plan also offer the CREF Stock and Money Market account, and to also use

TIAA as recordkeeper for its proprietary products.

      124.   TIAA’s financial interests were also served insofar as TIAA was able to

use its position as recordkeeper to obtain access to the Plans’ participants, acquiring

information about their ages, length of employment, contact information, the size of

their accounts, and choices of investments, and then used this information for its

benefit in marketing lucrative investment products and wealth management

products to participants as they neared retirement and before retirement. This has

been documented by former TIAA employees in multiple recent reports in the New

York Times described in more detail above.

      125.   By allowing the Plans to enter such a bundled arrangement with

TIAA-CREF, Defendants agreed to lock the Plans’ participants into funds which

Defendants did not analyze. It can never be prudent to lock funds in a plan for the

future and to keep them in because of recordkeeping. Defendants thus failed to

discharge their duty to independently evaluate whether each investment option was

prudent for the Plans, and to determine whether the use of TIAA as a plan

recordkeeper was prudent, reasonably priced, and in the exclusive interest of

participants. Instead of acting solely in the interest of participants, Defendants

allowed TIAA’s financial interest to dictate the Plans’ investment selections and

recordkeeping arrangement. Because Defendants allowed the CREF Stock to be

locked into the Plans, Defendants could not satisfy their duty to remove

investments that are no longer prudent within a reasonable time. As a result of


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Defendants’ breach in allowing CREF Stock to be retained in the Plans because

TIAA-CREF demanded it and not based on an independent and ongoing assessment

of the merits of the option, the Plans suffered massive losses compared to prudent

alternatives, as discussed in more detail below.

      126.   Both Plans offer the TIAA Traditional Annuity. This option is a fixed

annuity contract that returns a contractually specified minimum interest rate.

Assets invested in the TIAA Traditional Annuity are held in TIAA’s general account

and are dependent on TIAA’s claims-paying ability.

      127.   The TIAA Traditional Annuity has severe restrictions and penalties for

withdrawal if participants wish to change their investments in the Plans. For

example, some participants who invest in the TIAA Traditional Annuity must pay a

2.5% surrender charge if they withdraw their investment in a single lump sum

within 120 days of termination of employment. The only way for these participants

to withdraw or change their investment in the TIAA Traditional Annuity is to

spread the withdrawal over a ten-year period, unless this substantial penalty is

paid. Thus, any of these participants who wish to withdraw their savings without

penalty can only do so over ten years.

      128.   Both Plans include TIAA’s proprietary funds, including the CREF

Stock Account, CREF Global Equities Account, CREF Equity Index Account, CREF

Growth Account, CREF Social Choice Account, CREF Money Market Account,

CREF Inflation-Linked Bond Account, and CREF Bond Market Account, which are

variable annuities that invest in underlying securities for a given investment style.


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The value of the Plans’ investment in these variable annuities changes over time

based on investment performance and the expenses of the accounts.

         129.   The expense ratio of the CREF variable annuity accounts is made up of

multiple layers of expense charges consisting of the following:

            a. “administrative expense” charge (24 bps);44

            b. “distribution expense” charge (9.5 bps);

            c. “mortality and expense risk” charge (0.5 bps); and

            d. “investment advisory expense” charge (ranging from 4 to 12.5 bps).

         130.   Two of these four layers of fees charged on the CREF variable annuity

accounts, including the CREF Stock Account, are unreasonable for the actual

services provided by TIAA-CREF to Plan participants, and the other two provide no

benefit to the Plans’ participants.

        a. Administrative expenses (or recordkeeping fees): The administrative

            fee assessed on each variable annuity option is charged as a percentage of

            assets, rather than a flat fee per participant. As described above,

            recordkeeping costs depend on the number of participant accounts that the

            recordkeeper will service in the plan rather than based on a percentage of

            assets because a higher account balance costs no more to track than a

            lower account balance. As a result, as the growth in the Plans’ assets

            outpaced the growth in participants, the fees paid to TIAA-CREF likewise

            increased even though the services provided did not increase at the same

            rate, resulting in further unreasonable compensation.

 44   Expenses are stated as of May 1, 2014.
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b. Distribution expenses (or 12b-1 fees): Distribution expenses are

   charged for services performed for marketing and advertising of the

   account to potential investors. However, in a retirement plan, the funds

   are selected by the sponsor. Thus, marketing and distribution services

   provide no benefit to plan participants and are wholly unnecessary. Being

   charged for such wholly useless expenses causes a loss of retirement assets

   with no benefit.

c. Mortality and expense risk charges: Some annuity or insurance

   providers charge mortality and expense risk charges to compensate the

   insurance company for the risk it assumes when providing periodic income

   or payments to the investor over her lifetime, which will vary depending on

   the value of the underlying investments. This charge only benefits a

   participant if she elects upon retirement to annuitize her holdings in the

   account to provide for periodic income. Prior to annuitizing her account,

   the participant derives no conceivable benefit for paying such a charge, and

   TIAA-CREF provides no actual services or incurs any risk to justify the fee

   until a decision is made at retirement to convert the value of the lump sum

   to an annuity. Most participants in retirement plans recordkept by TIAA-

   CREF do not elect to annuitize their holdings in their variable annuity

   accounts upon retirement. Yet, all participants pay these fees for many

   years regardless of whether they annuitize their variable annuity account.

d. Investment advisory expense charge (or investment management


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        fees): It is a fundamentally established principle of investment

        management that larger asset size enables the asset holder to obtain lower

        fees as a percentage of assets. Fund managers institute breakpoints,

        whereby the investment management fee is reduced, as asset size goes up,

        at pre-specified asset thresholds to pass along economies of scale to the

        investor. For example, if $5 million is a breakpoint, one fee, based on a

        percentage of assets, will be charged on the first $5 million, and a lesser

        percentage will be charged on the next portion of the assets. A large

        investor will therefore be charged a lower fee, on a percentage of assets,

        than a smaller investor to recognize the economies of scale generated from

        the higher asset levels. Jumbo plans, such as NYU’s, can command

        extremely low fees. Despite this recognized principle, TIAA-CREF has not

        instituted any breakpoints whatsoever on its investment management fees

        to pass along economies of scale experienced by jumbo plan investors. The

        Plans’ fiduciaries did not obtain the lower investment management fees

        that come with the Plans’ enormous asset size. As a result, the Plans, with

        billions of dollars invested in CREF variable annuities, pay the same asset-

        based fee as the smallest client with a tiny fraction of their total assets,

        resulting in a windfall to TIAA-CREF and excessive fees paid by NYU

        employees and retirees.

      131.   The TIAA Real Estate Account is an insurance separate account

maintained by TIAA-CREF. An insurance separate account is a pooled investment


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vehicle that aggregates assets from more than one retirement plan for a given

investment strategy, but is segregated from the insurance company’s general

account assets. Similar to the CREF variable annuity accounts, the expense ratio of

the TIAA Real Estate Account is made up of multiple layers of expense charges,

which were excessive for the same reasons. As of May 1, 2013, these charges

consisted of the following:

          a. “administrative expense” charge (26.5 bps);

          b. “distribution expense” charge (8 bps);

          c. “mortality and expense risk” charge (0.5 bps);

          d. “liquidity guarantee” (18 bps); and

          e. “investment management expense” charge (36.5 bps).

      132.   The remaining TIAA-CREF funds are mutual funds. The TIAA-CREF

mutual funds charge varying amounts for investment management, but also charge

distribution, marketing, and other expenses, depending on the type of investment

and share class.

      133.   The Vanguard investment options offered to Plan participants are

exclusively mutual funds that charge varying amounts for investment management,

but also charge for distribution, marketing, and other expenses, depending on the

type of investment and share class.

      134.   This means that NYU plan participants are paying for marketing costs

of funds which their employer has placed in their retirement plan when such




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marketing costs provide no benefit to them. Other mutual funds that were available

to the Plans do not include such marketing costs.

       135.   Mutual funds have shareholders who are not participants in either

NYU Plan, or any retirement plan, and who purchase shares as a result of the

funds’ marketing efforts. However, all shareholders in the mutual funds, including

the participants in the NYU Plans, pay the expenses set forth in ¶¶123–124.

       136.   As of December 31, 2016, of the Faculty Plan’s $2.4 billion in net

assets, TIAA-CREF funds accounted for over $1.8 billion and Vanguard funds

accounted for over $770 million. As of December 31, 2016, of the Medical Plan’s $1.8

billion in net assets, TIAA-CREF funds accounted for over $1.2 billion and

Vanguard funds accounted for over $819 million.

III.   Defendants caused the Plans to pay excessive administrative and
       recordkeeping fees.

       137.   As set forth above, the market for recordkeeping services is highly

competitive and there are numerous recordkeepers in the market who can provide a

high level of service to large defined contribution plan who will readily respond to a

request for proposal.

       138.   Because market rates for recordkeeping services have declined in

recent years and because the only way to reliably determine the true market rate

for a complex jumbo plan is to obtain an actual fee quote comparison, prudent

fiduciaries of jumbo defined contribution plans put the plan’s recordkeeping and

administrative services out for competitive bidding at regular intervals of

approximately three years.

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      139.   As noted, extensive industry literature and the experience of similarly

situated fiduciaries has shown that multiple recordkeeper platforms are inefficient

and result in excessive fees. Instead of leveraging the size of the participant base to

take advantage of economies of scale, using multiple recordkeepers fractures and

dilutes the plan’s leverage. Instead of obtaining pricing based on a 25,000

participant plan from one recordkeeper, spreading participants among multiple

recordkeepers undercuts the plan’s ability to obtain favorable pricing.

      140.   Despite the recognized benefits of a single recordkeeper, to this date

Defendants have continued to contract with two separate recordkeepers (TIAA-

CREF and Vanguard) for the Faculty Plan and did not consolidate the Medical Plan

to one recordkeeper (TIAA-CREF) until late 2012. The Medical Plan went to one

recordkeeper in late 2012 and yet the Faculty Plan has failed to do so do this day,

despite having the same fiduciary committee—the Retirement Committee—and the

same individual members comprising this committee overseeing both Plans.

      141.   There is no reason why it took the Medical Plan until late 2012 to

consolidate to a single recordkeeper or why the Faculty Plan could not have been

consolidated to a single recordkeeper at any time.

      142.   The Retirement Committee’s own publicly-available admissions

unequivocally concede that the Plans’ structure was imprudent and caused plan

losses. Specifically, in 2009, the Retirement Committee recognized that in order to

leverage the plans’ $3 billion in assets, improve the plans’ administrative efficiency




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and reduce costs, and offer a “best in class fund lineup,” it “need[ed] to streamline &

reduce the fund lineup and select one vendor as sole recordkeeper[.]”45

       143.    Moreover, the Retirement Committee readily acknowledged that an

unbundled platform was preferable to the plans’ “bundled” arrangement. Id. at 18.

It also admitted that plan consolidation would enable the Plans to obtain “better

share classes yielding higher returns,” which would “result in significantly lower fee

structures for the participant.” Id. (emphasis added).

       144.    Even so, over seven years later, Defendants still have not taken the

action it recognized was “need[ed]” as of 2009. In an October 13, 2016 meeting

regarding the Plans—after the filing of a related lawsuit that challenged the Plans’

use of multiple recordkeepers and duplicative options46—the Retirement Committee

admitted that it had still not met the goal of “reducing duplication and fees[.]”47

       145.    Instead of obtaining a flat per-participant rate or rebates of excessive

revenue sharing back to the Plans, Defendants allowed these recordkeepers to

collect uncapped asset-based revenue sharing as payment for administrative

services.




45 Reengineering II, More Opportunities for Self Service, Slides 11, 12–18 (July 30, 2009),
available at:
  https://www.nyu.edu/content/dam/nyu/execVicePres/documents/13-Appendix-D-Self-
Service-Opportunities.ppt
46 The related lawsuit is Sacertdote et al. v. New York University, 1:16-cv-06284.
47 Minutes of the C-Faculty Senators Council Meeting of October 20, 2016, Document B at

23, available at: https://www.nyu.edu/content/dam/nyu/facultyGovernance/documents/C-
FSCMinutes102016.pdf.
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      146.   Based upon information from industry experts, the Plans’ TIAA-CREF

investments kicked back the following approximate amounts of revenue sharing to

the TIAA-CREF recordkeeping entity:

                 TIAA-CREF Investment                Revenue Share
             CREF variable annuity contracts             24 bps
             Premier share class of TIAA-CREF
                                                              15 bps
             mutual funds
             Retirement share class of TIAA-
                                                              25 bps
             CREF mutual funds
             TIAA Real Estate Account                   24–26.5 bps
             TIAA Traditional Annuity                     15 bps

      147.   Further adding to the fees received, Vanguard’s recordkeeping arm

also received “internal” revenue sharing from using higher-cost share classes of

Vanguard’s mutual funds, in amounts substantially greater than it would have from

the available lower-cost otherwise identical share classes.

      148.   In addition to these revenue sharing payments, TIAA-CREF and

Vanguard also received other indirect compensation, including float, revenue

derived from securities lending, distribution fees, mortality and expense charges,

surrender charges, spread, and redemption fees.

      149.   To discharge its fiduciary duty to act prudently and in the exclusive

interest of participants, Defendants were required to consider TIAA-CREF’s and

Vanguard’s financial interests in including funds in the Plans that would provide

them with steady streams of revenue from revenue sharing payments and

investment management fees. Defendants were also required to determine and

monitor all sources of TIAA-CREF’s and Vanguard’s compensation, and to ensure


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that the compensation was limited to a reasonable amount for the services provided.

Had Defendants discharged those duties, they would not have retained as Plan

investments exclusively options proprietary to the Plans’ recordkeepers while

failing to consider alternatives from other managers, and would not have allowed

the Plans to pay the following excessive sums for recordkeeping.

      150.   TIAA uses its position as recordkeeper to glean valuable information

about the Plans’ participants including, among other things, participants’ age,

length of employment, amount invested, and investment selections. TIAA then uses

this information to market and sell lucrative financial products to the Plans’

participants as they near retirement (and prior to retirement). Defendants failed to

consider TIAA’s exploitation of its position as recordkeeper to sell lucrative

retirement products to the Plans’ participants, outside of their investments already

in the Plans. If Defendants had acted as prudent and loyal fiduciaries they would

have taken this into account and demanded that TIAA rebate substantial portions

of its recordkeeping compensation to the Plans in order to account for the use of this

valuable information.

      151.   Experts in the recordkeeping industry with vast experience in requests

for proposals and information for similar plans have determined the market rate

that the Plans likely would have been able to obtain had the fiduciaries put the

Plans’ recordkeeping services out for competitive bidding. Based on the Plans’

features, the information available to Plaintiffs regarding the nature and type of

administrative services actually provided by the Plans’ recordkeepers, the Plans’


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combined participant level (roughly 25,000), and the market rates obtained for

similar plans, a reasonable annual recordkeeping fee for the Plans would be no

more than $840,000 in the aggregate for both Plans combined (a rate of no more

than approximately $35 for each participant in the Plans per year) even using a

recordkeeper who does not sell investment products and less because TIAA was

allowed to profit from its position as a recordkeeper in selling lucrative retirement

products outside of the Plans to the Plans’ participants. Even if Defendants had

negotiated a reasonable recordkeeping fee for the Faculty and Medical Plans

separately, the Plans would have paid dramatically less for recordkeeping services.

        152.   Based on schedules regarding service provider compensation in the

Faculty Plan’s Forms 5500 filed with the Department of Labor, and upon

information regarding the rate of internal revenue share allocated to each of the

Plans’ recordkeepers from their in-house proprietary investment options, the

Faculty Plan paid between $2.2 and $2.8 million (or approximately $147 to $200 per

participant) per year from 2011 to 2016, over 770% higher than a reasonable fee for

these services, resulting in millions of dollars in excessive recordkeeping fees each

year.

        153.   Based on schedules regarding service provider compensation in the

Medical Plan’s Forms 5500 filed with the Department of Labor, and upon

information regarding the rate of internal revenue share allocated to each of the

Plans’ recordkeepers from their proprietary investment options, the Medical Plan

paid between $1.1 and $1.8 million (or approximately $139 to $221 per participant)


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per year from 2011 to 2016, over 571% higher than a reasonable fee for these

services, resulting in millions of dollars in excessive recordkeeping fees each year.

      154.   To discharge its fiduciary duties, Defendants were required to obtain

sufficient information regarding all sources of compensation received by the Plans’

recordkeepers, including the amount of any revenue sharing payments, to make an

informed assessment as to whether the amount of compensation was no more than

reasonable for the services provided. Had Defendants accounted for and monitored

those payments, it would have been apparent that TIAA-CREF and Vanguard were

receiving excessive fees and that participants were losing retirement savings as a

result. Defendants should also have obtained rebates or payments for the benefit to

TIAA of selling to participants near retirement or retired, lucrative IRA products or

wealth management services.

      155.   Soliciting competitive bids from other recordkeepers should have

allowed Defendants to reduce the Plans’ excessive recordkeeping fees to reasonable

levels. Had Defendants conducted a diligent competitive bidding process for the

Plans’ recordkeeping services, and not allowed bundling of recordkeeping with the

recordkeepers’ investment products, the process would have resulted in very

substantial reductions in the Plans’ recordkeeping fees, totaling millions of dollars.

This competitive bidding process would have enabled Defendants to select a

recordkeeper charging reasonable fees, negotiate a reduction in recordkeeping fees,

and obtain rebates of any excess expenses paid by participants for recordkeeping

services.


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       156.   Aside from the failures to monitor the amount of revenue sharing

payments and to adequately solicit competitive bids, Defendants also failed to

negotiate rebates of all the excessive fee payments to TIAA-CREF and Vanguard.

Because the multi-billion dollar plans paid the same asset-based fees as much

smaller plans that used TIAA-CREF’s products and services, Defendants could have

demanded “plan pricing” rebates from TIAA-CREF based on the Plans’ economies of

scale. Defendants could have also demanded similar rebates from Vanguard. Had

Defendants negotiated for these rebates, the Plans’ recordkeeping fees would have

been reduced, avoiding additional losses of retirement savings.

       157.   By failing to prudently monitor and control the Plans’ recordkeeping

and administrative fees, particularly the open-ended asset-based revenue sharing

received by TIAA-CREF and Vanguard, and maintaining an inefficient and costly

structure of multiple recordkeepers, Defendants caused the Plans’ participants to

pay excessive and unreasonable fees for recordkeeping and administrative services.

Defendants’ failure to ensure that participants only paid reasonable fees for

administrative and recordkeeping services caused the Faculty and Medical Plans

and their participants to lose over $22 million of their retirement savings.48

IV.    Defendants caused the Plans to pay wholly unnecessary and
       excessive fees by using higher-cost share classes of Plan mutual
       funds instead of identical versions of the same funds in lower-cost
       share classes.



 48The Plans’ losses from 2011–2016 have been brought forward to the present value using
the investment returns of the S&P 500 index to compensate participants who have not been
reimbursed for their losses. This is because the excessive fees participants paid would have
remained in the Plans’ investments, growing with the market.
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        158.   Jumbo retirement plans have massive leverage to obtain low fees for

investment management services. If a plan invests in mutual funds, prudent

fiduciaries of jumbo defined contribution plans review all available share classes,

and do so for every fund in their plans, whether the plan contains three funds, 30

funds, or 300 funds. Because the only difference between the various share classes

is fees, prudent fiduciaries view higher-cost share classes as imprudent, because

using a higher-cost share class results in the plan paying wholly unnecessary fees.

Because there is no prudent reason to pay a higher cost when the same fund is

available at a lower cost, prudent fiduciaries of multi-billion dollar defined

contribution plans obtain the lowest-cost share class available to the plan.

        159.   As a prominent legal counsel to defined contribution fiduciaries

explained:

        The fiduciaries also must consider the size and purchasing power of
        their plan and select the share classes (or alternative investments)
        that a fiduciary who is knowledgeable about such matters would select
        under the circumstances. In other words, the “prevailing
        circumstances”—such as the size of the plan—are a part of a prudent
        decisionmaking process. The failure to understand the concepts and to
        know about the alternatives could be a costly fiduciary breach.

Fred Reish, Class–ifying Mutual Funds, PLANSPONSOR (Jan. 2011).49

        160.   Given that defined contribution plan fiduciaries are held to the

standard of a knowledgeable financial expert, if a service provider or consultant

recommends a particular share class, a fiduciary cannot blindly accept that

recommendation at face value, but instead must review the fund’s prospectus to



 49   Available at http://www.plansponsor.com/MagazineArticle.aspx?id=6442476537.
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determine if a lower-cost version of the same fund is available, to avoid saddling the

plan with unnecessary fees.

      161.   Jumbo investors like the Faculty and Medical Plans can obtain share

classes with far lower costs than retail mutual fund shares. In addition, insurance

company pooled separate accounts are available that can significantly reduce

investment fees charged on mutual fund investments in defined contribution plans.

      162.   Even if a jumbo plan does not meet the minimum investment

thresholds for an institutional share class, fund companies will routinely waive

those minimums for billion dollar plans if merely requested, particularly if the

plan’s total investment in the investment provider’s platform is significant.

Therefore, Defendants knew or should have known that investment providers would

have made lower-cost share classes available to the Plans if Defendants had asked.

      163.   Despite the availability of far lower-cost options, Defendants have

allowed the Plans to use investment options with far higher costs than were

available to the Plans based on their size. Moreover, for the exact same mutual fund

option, Defendants allowed the Plans to offer far higher-cost share classes of mutual

funds instead of identical lower-cost share classes that were available to the Plans.

The lower-cost share classes of these funds are identical in every respect—including

liquidity—except for having lower fees.

      164.   Numerous sources confirm that the different share classes of a given

mutual fund are identical except for fees, including the prospectuses of the Plans’

funds filed with the SEC.


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      Share classes

      Each Fund may offer Institutional, Advisor, Premier and Retirement Class
      shares in this Prospectus. The Lifecycle Retirement Income Fund also offers
      Retail Class shares. Each Fund’s investments are held by the Fund as a
      whole, not by a particular share class, so an investor’s money will be invested
      the same way no matter which class of shares is held. However, there are
      differences among the fees and expenses associated with each class and not
      everyone is eligible to buy every class.

TIAA-CREF Lifecycle Funds, Prospectus at 163 (Sept. 27, 2016)(emphasis added).50

      165.   Moreover, in granting certiorari on the Solicitor General’s

recommendation, the Supreme Court in Tibble modified the question presented in

the petition to specifically focus on the issue of mutual fund share classes.51 If

including retail-class mutual funds instead of identical lower-cost institutional

shares was prudent as a matter of law, the issue of whether such a claim was timely

would have been entirely irrelevant and the Supreme Court would have had no

reason to grant certiorari. In a 9-0 opinion, the Court held that ERISA fiduciaries

have a “continuing duty to monitor investments and remove imprudent ones,” and

remanded for the Ninth Circuit. In a unanimous 11-judge opinion, the Ninth

Circuit, sitting en banc, observed that under trust law, “cost-conscious management

is fundamental to prudence in the investment function,” and that “trustees are




 50 Available at:
https://www.sec.gov/Archives/edgar/data/1084380/000093041316008290/c85911_485bpos.ht
m#168.
 51“Whether a claim that ERISA plan fiduciaries breached their duty of prudence
by offering higher-cost retail-class mutual funds to plan participants, even though
identical lower-cost institutional-class mutual funds were available, is barred by 29
U.S.C. §1113(1) when fiduciaries initially chose the higher-cost mutual funds as
plan investments more than six years before the claim was filed.” See 135 S. Ct. 43.
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obliged to minimize costs.” Tibble V, 843 F.3d at 1197–98 (quoting Restatement

(Third) of Trust §90, cmt. b, and Unif. Prudent Investor Act §7).

       166.   After a second trial, the district court entered a second judgment for

plaintiffs, concluding that the Edison plan fiduciaries breached their duty of

prudence by retaining retail-class shares of 17 mutual funds instead of switching to

institutional-class shares of the same funds. Tibble VI, 2017 U.S. Dist. LEXIS

130806, at *36–39. The court found that a prudent fiduciary would have known “of

the existence of the institutional shares” and would have switched to the

institutional shares as soon as they became available. Id. at *39–42.

       167.   Like Tibble, other courts have consistently found that, because the

only difference between share classes is fees, a fiduciary’s decision to provide the

higher-cost share class raises an inference that the process was flawed.52



52 Braden, 588 F.3d at 595–96 & n.5 (denying motion to dismiss where fiduciaries
provided “retail class shares, which charge significantly higher fees than institutional
shares for the same return on investment”); Bell v. Pension Comm. of ATH. Holding Co.,
No. 15-2062, 2017 U.S. Dist. LEXIS 42107, at *8–9 (S.D. Ind. Mar. 23, 2017)(rejecting
reliance on Loomis and Hecker because “[n]either court addressed whether a defendant
violates their fiduciary duty in selecting high-cost investment options where identical
investment options are available at a lower-cost.”); Terraza v. Safeway Inc., No. 16-3994,
2017 U.S. Dist. LEXIS 35732, at *39–40 (N.D. Cal. Mar. 13, 2017)(because indisputably
“the only difference between the option that was offered and the option that allegedly
should have been offered was price,” … “[t]he Court can reasonably infer from this
allegation that the Defendants acted imprudently by selecting the more expensive option”);
Kruger v. Novant Health, Inc., 131 F.Supp.3d 470, 477–79 (M.D.N.C. 2015)(denying motion
to dismiss claim involving 403(b) plan where fiduciaries “utiliz[ed] imprudently expensive
… retail class funds when institutional class shares were available”); Krueger v. Ameriprise
Fin., Inc., No. 11-2781, 2012 U.S. Dist. LEXIS 166191, at *29–30 (D. Minn. Nov. 20,
2012)(denying motion to dismiss based on use of higher-cost share class instead of lower-
cost share class which would have provided “identical investment management”); Tussey v.
ABB, Inc., No. 06-4305, 2012 U.S. Dist. LEXIS 45240, at *8–9, 109–11, 115–16 (W.D. Mo.
Mar. 31, 2012)(defendants “violated their fiduciary duties” by, inter alia, “select[ing] more
expensive share classes … when less expensive share classes were available[.]”)(emphasis
added), affirmed in relevant part, 746 F.3d 327 (8th Cir. 2014).
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      168.   Under ERISA, each and every investment option must be prudent.

Despite this, for the entire proposed class period nearly half of the investment

options in the Faculty Plan were retail funds, or options that had lower-cost

identical funds available. This demonstrates a sustained failure of process on the

part of the Retirement Committee to ensure that each option in the Plans was

prudent.

      169.   In the Faculty and Medical Plans, lower-cost mutual funds identical to

the Plans’ Vanguard mutual funds include and have included the following:

                                                                   Identical
                                                                    Lower-
                                                                                Plan’s
                             Plan      Identical Lower-Cost          Cost
 Plan Mutual Fund53                                                             Excess
                             Fee           Mutual Fund              Mutual
                                                                                 Cost
                                                                     Fund
                                                                      Fee
Vanguard 500 Index                  Vanguard Institutional
                             17 bps                                   2 bps     750.00%
(Inv) (VFINX)                       Index (Instl Plus) (VIIIX)
Vanguard Asset                      Vanguard Asset
Allocation (Inv) (VAAPX)     27 bps Allocation (Adm)                 19 bps      42.11%
                                    (VAARX)
Vanguard Balanced                   Vanguard Balanced
Index (Inv) (VBINX)          26 bps Index (Instl) (VBAIX)             8 bps     225.00%

Vanguard Capital                    Vanguard Capital
Opportunity (Inv)            48 bps Opportunity (Adm)                41 bps      17.07%
(VHCOX)                             (VHCAX)
Vanguard Developed                  Vanguard Developed
Markets Index (Inv)          20 bps Markets Index (Instl              6 bps     233.33%
(VDMIX)                             Plus) (VDMPX)
Vanguard Developed                  Vanguard Developed
Markets Index (Adm)          9 bps Markets Index (Instl)              7 bps      28.57%
(VTMGX) **                          (VTMNX)

 53Funds marked with an * were only included in the Faculty Plan. Funds marked with a
** were only included in the Medical Plan. If there is no asterisk, they were included in
both.
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                                                             Identical
                                                              Lower-
                                                                         Plan’s
                          Plan     Identical Lower-Cost        Cost
 Plan Mutual   Fund53                                                    Excess
                          Fee          Mutual Fund            Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Vanguard Emerging                  Vanguard Emerging
Markets Stock Index       35 bps   Markets Stock Index        15 bps     133.33%
(Inv) (VEIEX)                      (Instl) (VEMIX)
Vanguard Emerging                  Vanguard Emerging
Markets Stock Index       33 bps   Markets Stock Index        10 bps     230.00%
(Inv) (VEIEX)                      (Instl Plus) (VEMRX)
Vanguard Emerging                  Vanguard Emerging
Markets Stock Index       12 bps   Markets Stock Index        10 bps     20.00%
(Adm) (VEMIX) **                   (Instl Plus) (VEMRX)
Vanguard Energy (Inv)              Vanguard Energy (Adm)
                          38 bps                              31 bps     22.58%
(VGENX) *                          (VGELX)
Vanguard Equity-                   Vanguard Equity-
Income (Inv) (VEIPX)      31 bps   Income (Adm) (VEIRX)       22 bps     40.91%

Vanguard European                  Vanguard European
Stock Index (Inv)         26 bps   Stock Index (Instl)        10 bps     160.00%
(VEURX)                            (VESIX)
Vanguard European                  Vanguard European
Stock Index (Adm)         12 bps   Stock Index (Instl)         9 bps     33.33%
(VEUSX) **                         (VESIX)
Vanguard Explorer (Inv)            Vanguard Explorer
                          49 bps                              32 bps     53.13%
(VEXPX)                            (Adm) (VEXRX)
Vanguard Extended                  Vanguard Extended
Market Index (Inv)        26 bps   Market Index (Instl)        8 bps     225.00%
(VEXMX)                            (VIEIX)
Vanguard Extended                  Vanguard Extended
Market Index (Inv)        24 bps   Market Index (Instl         6 bps     300.00%
(VEXMX)                            Plus) (VEMPX)
Vanguard Extended                  Vanguard Extended
Market Index (Adm)        10 bps   Market Index (Instl Pl)     6 bps     66.67%
(VEXAX) **                         (VEMPX)
Vanguard FTSE Social               Vanguard FTSE Social
Index (Inv) (VFTSX)       29 bps   Index (Instl) (VFTNX)      16 bps     81.25%



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                                                                Identical
                                                                 Lower-
                                                                            Plan’s
                          Plan     Identical Lower-Cost           Cost
 Plan Mutual   Fund53                                                       Excess
                          Fee          Mutual Fund               Mutual
                                                                             Cost
                                                                  Fund
                                                                   Fee
Vanguard GNMA (Inv)              Vanguard GNMA (Adm)
                          23 bps                                 13 bps     76.92%
(VFIIX)                          (VFIJX)
Vanguard Growth &                Vanguard Growth &
Income (Inv) (VQNPX)      32 bps Income (Adm) (VGIAX)            21 bps     52.38%

Vanguard Growth Index              Vanguard Growth Index
                          26 bps                                  8 bps     225.00%
(Inv) (VIGRX)                      (Instl) (VIGIX)
Vanguard Growth Index              Vanguard Growth Index
                          9 bps                                   8 bps     12.50%
(Adm) (VIGAX) **                   (Instl) (VIGIX)
Vanguard Health Care               Vanguard Health Care
                          36 bps                                 29 bps     24.14%
(Inv) (VGHCX) *                    (Adm) (VGHAX)
Vanguard High-Yield                Vanguard High-Yield
Corporate (Inv)           28 bps   Corporate (Adm)               15 bps     86.67%
(VWEHX)                            (VWEAX)
Vanguard Inflation-                Vanguard Inflation-
Protected Securities      22 bps   Protected Securities           7 bps     214.29%
(Inv) (VIPSX)                      (Instl) (VIPIX)
Vanguard Institutional             Vanguard Institutional
                          4 bps                                   2 bps     100.00%
Index (Instl) (VINIX) *            Index (Instl Plus) (VIIIX)
Vanguard Intermediate-             Vanguard Intermediate-
Term Bond Index (Inv)     22 bps   Term Bond Index (Instl)        7 bps     214.29%
(VBIIX)                            (VBIMX)
Vanguard Intermediate-             Vanguard Intermediate-
Term Bond Index (Inv)     20 bps   Term Bond Index (Instl         5 bps     300.00%
(VBIIX)                            Plus) (VBIUX)
Vanguard Intermediate-             Vanguard Intermediate-
Term Bond Index (Adm)     10 bps   Term Bond Index (Instl         5 bps     100.00%
(VBILX) **                         Plus) (VBIUX)
Vanguard Intermediate-             Vanguard Intermediate-
Term Investment-Grade     24 bps   Term Investment-Grade         11 bps     118.18%
(Inv) (VFICX)                      (Adm) (VFIDX)
Vanguard Intermediate-             Vanguard Intermediate-
Term Treasury (Inv)       25 bps   Term Treasury (Adm)           12 bps     108.33%
(VFITX)                            (VFIUX)

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                                                              Identical
                                                               Lower-
                                                                          Plan’s
                           Plan     Identical Lower-Cost        Cost
 Plan Mutual   Fund53                                                     Excess
                           Fee          Mutual Fund            Mutual
                                                                           Cost
                                                                Fund
                                                                 Fee
Vanguard International              Vanguard International
                           49 bps                              33 bps     48.48%
Growth (Inv) (VWIGX)                Growth (Adm) (VWILX)
Vanguard Long-Term                  Vanguard Long-Term
Bond Index (Inv)           22 bps   Bond Index (Instl)          7 bps     214.29%
(VBLTX)                             (VBLLX)
Vanguard Long-Term                  Vanguard Long-Term
Bond Index (Inv)           20 bps   Bond Index (Instl Plus)     5 bps     300.00%
(VBLTX)                             (VBLIX)
Vanguard Long-Term                  Vanguard Long-Term
Investment-Grade (Inv)     26 bps   Investment-Grade (Adm)     13 bps     100.00%
(VWESX)                             (VWETX)
Vanguard Long-Term                  Vanguard Long-Term
Treasury (Inv) (VUSTX)     25 bps   Treasury (Adm)             12 bps     108.33%
                                    (VUSUX)
Vanguard Mid Cap                    Vanguard Mid Cap
                           26 bps                               8 bps     225.00%
Index (Inv) (VIMSX)                 Index (Instl) (VMCIX)
Vanguard Mid Cap                    Vanguard Mid Cap
Index (Inv) (VIMSX)        24 bps   Index (Instl Plus)          6 bps     300.00%
                                    (VMCPX)
Vanguard Mid Cap                    Vanguard Mid Cap
Index (Instl) (VMCIX) **   8 bps    Index (Instl Plus)          6 bps     33.33%
                                    (VMCPX)
Vanguard Morgan                     Vanguard Morgan
                           43 bps                              29 bps     48.28%
Growth (Inv) (VMRGX)                Growth (Adm) (VMRAX)
Vanguard Pacific Stock              Vanguard Pacific Stock
                           26 bps                              10 bps     160.00%
Index (Inv) (VPACX)                 Index (Instl) (VPKIX)
Vanguard Pacific Stock              Vanguard Pacific Stock
                           12 bps                               9 bps     33.33%
Index (Adm) (VPADX) **              Index (Instl) (VPKIX)
Vanguard Prime Money                Vanguard Prime Money
                           23 bps                               9 bps     155.56%
Market (Inv) (VMMXX)                Market (Adm) (VMRXX)
Vanguard PRIMECAP                   Vanguard PRIMECAP
                           45 bps                              36 bps     25.00%
(Inv) (VPMCX)                       (Adm) (VPMAX)
Vanguard REIT Index                 Vanguard REIT Index
                           26 bps                               9 bps     188.89%
(Inv) (VGSIX)                       (Instl) (VGSNX)
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                                                              Identical
                                                               Lower-
                                                                          Plan’s
                           Plan     Identical Lower-Cost        Cost
 Plan Mutual    Fund53                                                    Excess
                           Fee          Mutual Fund            Mutual
                                                                           Cost
                                                                Fund
                                                                 Fee
Vanguard Short-Term                 Vanguard Short-Term
Bond Index (Inv)           22 bps   Bond Index (Adm)           11 bps     100.00%
(VBISX)                             (VBIRX)
Vanguard Short-Term                 Vanguard Short-Term
Bond Index (Inv)           20 bps   Bond Index (Instl Plus)     5 bps     300.00%
(VBISX)                             (VBIPX)
Vanguard Short-Term                 Vanguard Short-Term
Bond Index (Adm)           10 bps   Bond Index (Instl Plus)     5 bps     100.00%
(VBIRX) **                          (VBIPX)
Vanguard Short-Term                 Vanguard Short-Term
Federal (Inv) (VSGBX)      22 bps   Federal (Adm) (VSGDX)      12 bps     83.33%

Vanguard Short-Term               Vanguard Short-Term
Investment-Grade (Inv)            Investment-Grade (Instl)
                           24 bps                               9 bps     166.67%
(VFSTX)                           (VFSIX)

Vanguard Short-Term               Vanguard Short-Term
Treasury (Inv) (VFISX)     22 bps Treasury (Adm) (VFIRX)       12 bps     83.33%

Vanguard Small Cap                Vanguard Small Cap
Growth Index (Inv)         26 bps Growth Index (Instl)          8 bps     225.00%
(VISGX)                           (VSGIX)
Vanguard Small Cap                Vanguard Small Cap
Index (Inv) (NAESX)        26 bps Index (Instl) (VSCIX)         8 bps     225.00%

Vanguard Small Cap                Vanguard Small Cap
Index (Inv) (NAESX)        24 bps Index (Instl Plus)            6 bps     300.00%
                                  (VSCPX)
Vanguard Small Cap                Vanguard Small Cap
Index (Instl) (VSCIX) **   8 bps Index (Instl Plus)             6 bps     33.33%
                                  (VSCPX)
Vanguard Small Cap                Vanguard Small Cap
Value Index (Inv)          26 bps Value Index (Instl)           8 bps     225.00%
(VISVX)                           (VSIIX)


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                                                        Identical
                                                         Lower-
                                                                    Plan’s
                        Plan     Identical Lower-Cost     Cost
 Plan Mutual   Fund53                                               Excess
                        Fee          Mutual Fund         Mutual
                                                                     Cost
                                                          Fund
                                                           Fee
Vanguard Total Bond            Vanguard Total Bond
Market Index (Inv)      22 bps Market Index (Instl)       7 bps     214.29%
(VBMFX)                        (VBTIX)
Vanguard Total Bond            Vanguard Total Bond
Market Index (Inv)      22 bps Market Index (Instl        5 bps     340.00%
(VBMFX)                        Plus) (VBMPX)
Vanguard Total Bond            Vanguard Total Bond
Market Index (Instl)           Market Index (Instl
                        6 bps                             5 bps     20.00%
(VBTIX) **                     Plus) (VBMPX)

Vanguard Total                 Vanguard Total
International Stock            International Stock
                        22 bps                            10 bps    120.00%
Index (Inv) (VGTSX)            Index (Instl) (VTPSX)

Vanguard Total Stock           Vanguard Total Stock
Market Index (Inv)      17 bps Market Index (Instl        2 bps     750.00%
(VTSMX)                        Plus) (VITPX)
Vanguard Total Stock           Vanguard Total Stock
Market Index (Instl)    4 bps Market Index (Instl         2 bps     100.00%
(VITSX) **                     Plus) (VITPX)
Vanguard U.S. Growth           Vanguard U.S. Growth
(Inv) (VWUSX)           45 bps (Adm) (VWUAX)              29 bps    55.17%

Vanguard Value Index             Vanguard Value Index
                        26 bps                            8 bps     225.00%
(Inv) (VIVAX)                    (Instl) (VIVIX)
Vanguard Value Index             Vanguard Value Index
(Inv) (VVIAX) **        9 bps    (Instl) (VIVIX)          8 bps     12.5%

Vanguard Wellesley             Vanguard Wellesley
Income (Inv) (VWINX)    28 bps Income (Adm) (VWIAX)       21 bps    33.33%

Vanguard Wellington            Vanguard Wellington
(Inv) (VWELX)           30 bps (Adm) (VWENX)              22 bps    36.36%




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                                                             Identical
                                                              Lower-
                                                                         Plan’s
                           Plan     Identical Lower-Cost       Cost
 Plan Mutual    Fund53                                                   Excess
                           Fee          Mutual Fund           Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Vanguard Windsor II              Vanguard Windsor II
                          35 bps                               27 bps    29.63%
(Inv) (VWNFX)                    (Adm) (VWNAX)
Vanguard Windsor (Inv)           Vanguard Windsor
                          33 bps                               22 bps    50.00%
(VWNDX)                          (Adm) (VWNEX)

      170.   Lower-cost alternatives identical to the Faculty Plan’s TIAA-CREF

mutual funds include and have included the following:

                                                             Identical
                                                              Lower-
                                                                         Plan's
                           Plan     Identical Lower-Cost       Cost
  Plan Mutual Fund                                                       Excess
                           Fee          Mutual Fund           Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
TIAA-CREF                        TIAA-CREF
International Equity      35 bps International Equity          10 bps    250.00%
Index (Retire) (TRIEX)           Index (Instl) (TCIEX)
TIAA-CREF Large-Cap              TIAA-CREF Large-Cap
Value Index (Retire)      34 bps Value Index (Instl)            9 bps    277.78%
(TRCVX)                          (TILVX)
TIAA-CREF Lifecycle                TIAA-CREF Lifecycle
                          65 bps                               40 bps    62.50%
2010 (Retire) (TCLEX)              2010 (Instl) (TCTIX)
TIAA-CREF Lifecycle                TIAA-CREF Lifecycle
                          67 bps                               42 bps    59.52%
2015 (Retire) (TCLIX)              2015 (Instl) (TCNIX)
TIAA-CREF Lifecycle                TIAA-CREF Lifecycle
                          67 bps                               42 bps    59.52%
2020 (Retire) (TCLTX)              2020 (Instl) (TCWIX)

TIAA-CREF Lifecycle                TIAA-CREF Lifecycle
                          69 bps                               44 bps    56.82%
2025 (Retire) (TCLFX)              2025 (Instl) (TCYIX)

TIAA-CREF Lifecycle                TIAA-CREF Lifecycle
                          71 bps                               46 bps    54.35%
2030 (Retire) (TCLNX)              2030 (Instl) (TCRIX)


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                                                                Identical
                                                                 Lower-
                                                                             Plan's
                              Plan     Identical Lower-Cost       Cost
  Plan Mutual Fund                                                           Excess
                              Fee          Mutual Fund           Mutual
                                                                              Cost
                                                                  Fund
                                                                   Fee
TIAA-CREF Lifecycle                    TIAA-CREF Lifecycle
                              72 bps                              47 bps      53.19%
2035 (Retire) (TCLRX)                  2035 (Instl) (TCIIX)

TIAA-CREF Lifecycle                    TIAA-CREF Lifecycle
                              72 bps                              47 bps      53.19%
2040 (Retire) (TCLOX)                  2040 (Instl) (TCOIX)

TIAA-CREF Lifecycle                    TIAA-CREF Lifecycle
                              72 bps                              47 bps      53.19%
2045 (Retire) (TTFRX)                  2045 (Instl) (TTFIX)

TIAA-CREF Lifecycle                    TIAA-CREF Lifecycle
                              71 bps                              46 bps      54.35%
2050 (Retire) (TLFRX)                  2050 (Instl) (TFTIX)
TIAA-CREF Lifecycle                  TIAA-CREF Lifecycle
Retirement Income             65 bps Retirement Income            40 bps      62.50%
(Retire) (TLIRX)                     (Instl) (TLRIX)
TIAA-CREF Mid-Cap
                                       TIAA-CREF Mid-Cap
Growth (Retire)               77 bps                              52 bps      48.08%
                                       Growth (Instl) (TRPWX)
(TRGMX)
TIAA-CREF Mid-Cap                      TIAA-CREF Mid-Cap
                              74 bps                              49 bps      51.02%
Value (Retire) (TRVRX)                 Value (Instl) (TIMVX)
TIAA-CREF Small-Cap                  TIAA-CREF Small-Cap
Blend Index (Retire)          34 bps Blend Index (Instl)           9 bps     277.78%
(TRBIX)                              (TISBX)

      171.   These lower-cost share classes of the identical mutual funds for the

Faculty Plan and Medical Plan have been available for years, some dating back to

the early 2000’s or before.

      172.   The failure to select far lower-cost share classes for the Plans’ mutual

fund options that are identical in all respects (portfolio manager, underlying

investments, and asset allocation), except for cost, demonstrates that Defendants
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failed to consider the size and purchasing power of the Plans when selecting share

classes and failed to engage in a prudent process for the selection, monitoring, and

retention of those mutual funds.

      173.   Had the amounts invested in the higher-cost share class mutual fund

options instead been invested in the lower-cost share classes, the Plans’ participants

would not have lost millions of dollars of their retirement savings.

V.    Defendants selected and retained a large number of duplicative
      investment options, diluting the Plans’ ability to ensure lower fees
      and confusing participants.

      174.   Defendants provided a dizzying array of duplicative funds in the same

investment style, thereby reducing the bargaining power associated with offering a

single option in each investment style, which significantly reduces investment fees,

and causing “decision paralysis” for participants. For each Plan, Defendants placed

over 70 investment options in the core lineup for the following asset classes: target

date and asset allocation funds, large cap domestic equities, mid cap domestic

equities, small cap domestic equities, international equities, fixed income, money

market, real estate, and fixed guaranteed annuity.

      175.   It is well-documented in industry literature, and well-known by

prudent fiduciaries of large defined contribution plans, that a large number of

options is detrimental for a number of reasons, including because it results in poor

asset allocation decisions, worse outcomes for participant retirement savings,




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investor confusion, and “decision paralysis.”54 Accordingly, prudent fiduciaries view

a large number of duplicative investment options as imprudent and take steps to

consolidate the investment menu to a level that maintains ample choice while

optimizing retirement outcomes for participants.

       176.   In comparison, according to Callan Investments Institute’s 2015

Defined Contribution Trends survey, defined contribution plans in 2014 had on

average of 15 investment options, excluding target date funds.55 This reasonable

number of options provides choice of investment style to participants while

maintaining a larger pool of assets in each investment style, which benefits

participants by avoiding participant confusion and ensuring lower fees.

       177.   A larger pool of assets in each investment style significantly reduces

fees paid by participants. Consolidating duplicative investments of the same

investment style into a single investment option would strengthen the Plans’ ability

to command lower-cost investments.

       178.   Including a range of choices in investment options is generally

beneficial, as long as the fund selections are the result of a detailed due diligence

process that considers factors such as risk, investment return, and expenses of

available investment alternatives, the fiduciary gives “appropriate consideration” to

“the role the investment or investment course of action plays . . . in the plan’s

investment portfolio,” 29 C.F.R. §§ 2550.404a-1(b)(i)-(ii), and the resulting

 54 Sheena S. Iyengar, et al., Choice Proliferation, Simplicity Seeking, and Asset
Allocation, 94 J.PUB. ECON. 530 (Mar. 2010)(finding that the presence of more funds
in a plan results in poor individual asset allocation decisions).
 55 Callan Investments Institute, 2015 Defined Contribution Trends, at 28 (2015), available
at https://www.callan.com/research/files/990.pdf.
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investment lineup provide participants with the ability to diversify their portfolio

appropriately while benefiting from the size of the pooled assets of other employees

and retirees. Fiduciaries cannot discharge their duties “by the simple expedient of

including a very large number of investment alternatives in its portfolio and then

shifting to the participants the responsibility for choosing among them.” Hecker v.

Deere & Co., 569 F.3d 708, 711 (7th Cir. 2009). Assembling a haphazard lineup of

over 100 duplicative, high-cost funds proprietary to the Plans’ recordkeepers—and

shifting to participants the burden to screen those options—does not reflect a

prudent investment selection process.

      179.   Within each asset class and investment style deemed appropriate for a

participant-directed retirement plan, prudent fiduciaries must make a reasoned

determination and select a prudent investment option. In contrast to Defendants,

prudent fiduciaries do not select and retain numerous duplicative investment

options for a single asset class and investment style. When a plan includes many

investment options in a single investment style, fiduciaries reduce their leverage to

obtain lower investment management expenses for that style.

      180.   Moreover, using many actively managed funds within the same

investment style results in the Plans effectively having an index fund return, while

paying much higher fees for active management than the fees of a passive index

fund, which has much lower fees because there is no need for active management

and its higher fees.




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      181.   From 2010 to date, the Faculty Plan included and continues to include

duplicative investments in every major asset class and investment style, including

balanced/asset allocation (9–10 options), fixed income and high yield bond (17

options), international (11 options), large cap domestic equities (19–20 options), mid

cap domestic equities (9 options), small cap domestic equities (5 options), real estate

(2 options), money market (4 options), and target date investments (2 fund

families). The Medical Plan included and continues to include duplicative

investments in balanced/asset allocation (9–10 options), fixed income and high yield

bond (17 options), international (10 options), large cap domestic equities (17–18

options), mid cap domestic equities (7 options), small cap domestic equities (4

options), real estate (2 options), money market (4 options), and stable value (2

options). This dizzying array of duplicative funds in a single investment style

harmed participants by diluting the Plans’ bargaining power and providing

participants a collection of options that were far inferior to low-cost alternatives

that were available to the Plans.

      182.   For illustration purposes, Defendants included up to six large cap

domestic blend investments for the Faculty Plan and Medical Plan as of December

31, 2016. These investments are summarized below and compared to a far lower-

cost large cap domestic blend alternative that was available to the Plans, the

Vanguard Institutional Index Fund (Instl Plus), which was only recently included in

the Medical Plan. The Vanguard Institutional Index Fund (Instl Plus) (VIIIX), by

definition, mirrors the market, and has an expense ratio of 2 bps.


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                                                          Institutional       Plan’s
      Large Cap Blend
                                 Assets           Fee      Index Fund         Excess
       Investments56
                                                             (VIIIX)           Cost
CREF Stock Account            $812,146,351       46 bps       2 bps           2200%
CREF Equity Index
                              $104,165,602       37 bps        2 bps           1750%
Account
Vanguard Growth &
Income (Adm) (VGIAX)           $13,850,027       23 bps        2 bps           1050%
**
Vanguard Growth &
Income (Inv) (VQNPX)           $4,987,624        37 bps        2 bps           1750%
*
Vanguard Institutional
Index Fund (Instl)             $62,168,369       4 bps         2 bps           100%
(VINIX) *
Vanguard PRIMECAP
                               $2,828,531        50 bps        2 bps           2400%
Core (Inv) (VPCCX) *
Vanguard Total Stock
Market Index Fund              $44,993,383       4 bps         2 bps           100%
(Instl) (VITSX) **
Vanguard Total Stock
Market Index Fund              $9,469,355        17 bps        2 bps           750%
(Inv) (VTSMX) *
Total of Higher-Cost
                             $1,054,609,242
Alternatives

        183.   With over $916 million held in the CREF Stock Account and the CREF

Equity Index Account, these large cap blend options were 23 and 18 times more

expensive than the lower-cost Vanguard option with an expense ratio of 2 bps.




 56Funds marked with an * were only included in the Faculty Plan. Funds marked with a
** were only included in the Medical Plan. If there is no asterisk, they were included in
both.
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             Excessive Expense Ratio of CREF Stock Account and
                        CREF Equity Index Account

                          46 bps                     CREF Expense 2200%–
                                                     1750% Higher than
                                          37 bps     Index Fund
      50

      40

      30

      20                                                2 bps

      10

       0
  Basis Points
     (bps)
    CREF Stock Account                         CREF Equity Index Account
    Vanguard Institutional Index Fund

      184.   There are many other large cap index funds that are also available in

the market at far lower costs than the Plans’ large cap blend funds. Had the

amounts invested in the Plans’ large cap blend options been consolidated into a

single large cap blend investment such as the Vanguard Institutional Index Fund

(Instl Plus), Plan participants would have avoided losses of well over $4 million

dollars in fees in 2014 alone, and many more millions since 2011.

      185.   In addition, Defendants selected and continue to retain multiple

passively managed index options in the same investment style. As discussed above,

unlike actively managed funds, index funds do not attempt to beat their benchmark

through active stock selection, but instead simply attempt to track a given index,

such as the S&P 500, and thus have much lower fees than actively managed funds.

In the large cap blend investment style, Defendants included four separate index


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funds in each Plan which generate investment results that correspond to the return

of the U.S. equity market. As another example, Defendants retained four separate

index funds for the fixed income and intermediate-term bond investment styles.

         186.   Since index funds merely hold the same securities in the same

proportions as the index,57 having multiple index funds in the Plans provides no

benefit to participants. Instead, it hurts participants by diluting the Plans’ ability to

obtain lower rates for a single index fund of that style because the amount of assets

in any one such fund is smaller than the aggregate would be in that investment

style. Moreover, multiple managers holding stocks which mimic the S&P 500 or a

similar index would pick the same stocks in the same proportions as the index.

Thus, there is no value in offering separate index funds in the same investment

style.

         187.   Had Defendants combined hundreds of millions of dollars in Plan

assets from duplicative index funds into a single index fund, the Plans would have

generated higher investment returns, net of fees, and participants would not have

lost significant retirement assets.

         188.   Defendants’ failure to pool the assets invested in duplicative

investment options for the same investment style into a single investment option

caused Plan participants to pay millions of dollars in unreasonable investment

expenses, thereby depleting their retirement assets.




 57   Another example of an index is the Dow Jones Industrial Average.
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VI.    Defendants imprudently retained historically underperforming Plan
       investments.

       189.   A fiduciary who breaches its fiduciary duties is required to make good

any losses to the plan resulting from each such breach. 29 U.S.C. §1109(a).

Defendants’ failure to conduct appropriate due diligence in selecting and monitoring

the Plans’ investments resulted in options being retained in the Plans despite years

of historical underperformance compared to superior lower-cost alternatives,

causing massive losses to the Plans compared to what those assets would have

earned if invested in prudent alternatives.

       190.   Despite acknowledging in 2009 that one of the fiduciary advantages of

consolidation included the ability to “develop[] an investment policy and monitor

fund performance,” Defendants did not create an investment policy statement until

2014—over five years later.58

       A.     Defendants imprudently retained the CREF Stock Account.

       191.   TIAA-CREF imposed restrictive provisions on the specific annuities

that must be provided in the Plans. In its fund fact sheets and participant

disclosures, TIAA-CREF classifies the CREF Stock Account as a domestic equity

investment in the large cap blend Morningstar category. Under the restrictions,

TIAA-CREF required that the CREF Stock Account be offered to Plan participants,

in addition to the TIAA Traditional Annuity and the CREF Money Market Account.

Instead of controlling each plan option allowed in the Plans, as ERISA requires,


58Reengineering II, More Opportunities for Self Service, (July 30, 2009), available at:
https://www.nyu.edu/content/dam/nyu/execVicePres/documents/13-Appendix-D-Self-
Service-Opportunities.ppt
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Defendants allowed TIAA-CREF to dictate that the CREF Stock Account would be

placed and retained in the Plans. Defendants did so without a prudent process to

determine whether there were other prudent alternatives in the exclusive best

interest of Plans’ participants and beneficiaries. TIAA-CREF required the CREF

Stock Account to be included in the Plans to drive very substantial amounts of

revenue sharing payments to TIAA-CREF for recordkeeping services. The CREF

Stock Account paid 24 bps for revenue sharing, which exceeded other TIAA-CREF

investments by nearly 50% (15 bps).

      192.   The CREF Stock Account has excessive and unnecessary fees, has

consistently underperformed for years, and continues to underperform its

benchmark and lower-cost actively and passively managed investments that were

available to the Plans, yet has not been removed from the Plans nor frozen to new

investments. The CREF Stock Account is one of the largest investment options in

the Plans with over $812 million in total assets, and has been offered to participants

throughout the period from 2011 to date.59

      193.   As understood in the investment community, passively managed

investment options should either be used or, at a minimum, thoroughly analyzed

and considered in efficient markets such as large capitalization U.S. stocks. This is

because it is difficult and either unheard of, or extremely unlikely, to find actively

managed mutual funds that outperform a passive index, net of fees, particularly on

a persistent basis, as set forth above. This extreme unlikelihood is even greater in

 59 TIAA-CREF classifies the CREF Stock Account as a domestic equity investment in the
large cap blend Morningstar category in its fund fact sheets, as well as in participant
disclosures.
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the large cap market because such companies are the subject of many analysts’

coverage, while smaller stocks are not as widely covered by analysts and thus are

subject to potential inefficiencies in pricing.

         194.   The efficiencies of the large cap market hinder an active manager’s

ability to achieve excess returns for investors.

         [T]his study of mutual funds does not provide any reason to abandon a belief
         that securities markets are remarkably efficient. Most investors would be
         considerably better off by purchasing a low expense index fund, than by
         trying to select an active fund manager who appears to possess a “hot hand.”
         Since active management generally fails to provide excess returns and tends
         to generate greater tax burdens for investors, the advantage of passive
         management holds, a fortiori.

Burton G. Malkiel, Returns from Investing in Equity Mutual Funds 1971 to 1991, 50

J. FIN. 549, 571 (1995).60

         195.   Academic literature overwhelmingly concludes that active managers

consistently underperform the S&P 500 index.

         Active managers themselves provide perhaps the most persuasive case for
         passive investing. Dozens of studies have examined the performance of
         mutual funds and other professional-managed assets, and virtually all of
         them have concluded that, on average, active managers underperform
         passive benchmarks…The median active fund underperformed the passive
         index in 12 out of 18 years [for the large-cap fund universe]…The bottom line
         is that, over most periods, the majority of mutual fund investors would have
         been better off investing in an S&P 500 Index fund.

         ****

         Most of the dismal comparisons for active managers are for large-cap
         domestic managers versus the S&P 500 Index.

Robert C. Jones, The Active Versus Passive Debate: Perspectives of an Active Quant,

ACTIVE EQUITY PORTFOLIO MANAGEMENT, at 37, 40, 53 (Frank J. Fabozzi ed.,1998).

 60   Available at http://indeksirahastot.fi/resource/malkiel.pdf.
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      196.   Prudent fiduciaries of large defined contribution plans must conduct

an analysis to determine whether actively managed funds, particularly large cap,

will outperform their benchmark net of fees. Prudent fiduciaries then make a

reasoned decision as to whether it is in participants’ best interest to offer an

actively managed large cap option for the particular investment style and asset

class, in light of the higher costs of active management.

      197.   Defendants failed to undertake such an analysis, or any analysis, when

it allowed the actively managed CREF Stock Account to be included and retained in

the Plans. This is particularly true given TIAA-CREF’s requirement that the CREF

Stock Account be provided in the Plans in order to drive revenue to TIAA-CREF. By

allowing the Plans to be bound by this requirement, Defendants failed to conduct an

independent evaluation of the prudence of this option, which contradicts every

principle of prudent investing because an investment that was no longer prudent

could not be removed from the Plans.

      198.   Additionally, as detailed above, the 46 bps that the CREF Stock

Account charged was comprised of four layers of fees that were each unreasonable

compared to the actual services provided by TIAA-CREF to the Plans’ participants.

Defendants failed to analyze whether these fees were appropriate and reasonable in

light of the services provided and given that the Plans collectively invested over

$812 million in the CREF Stock Account.

      199.   Had Defendants engaged in a prudent investment review and

monitoring process, it would have determined that the CREF Stock Account would


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not be expected to outperform the large cap index after fees. That is in fact what

occurred.

      200.   The CREF stock account did not merely experience poor performance

in a single year or two, but rather its historical performance has been persistently

poor for many years compared to both available lower-cost index funds and the

index benchmark.

      201.   Defendants and TIAA-CREF identified the Russell 3000 Index as the

appropriate benchmark to evaluate the fund’s investment results, as shown in the

excerpt below that was provided to the Plans’ participants.




      202.   The following chart compares the investment returns of the CREF

Stock Account to its benchmark and two other passively managed index funds in

the same investment style and its benchmark for the one-, five-, and ten-year

periods ending December 31, 2016.61 For each comparison, the CREF Stock Account

dramatically underperformed the benchmark and index alternatives. The passively

managed index funds used for comparison purposes are the Vanguard Total Stock

Market Index Fund (Instl Plus) (VITPX) and the Vanguard Institutional Index



 61Performance data provided as of December 31, 2016 to correspond to the Plans’ most
recent Form 5500 filed with the Department of Labor as of the filing of this complaint.
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(Instl Plus) (VIIIX). Like the CREF Stock Account, these options are large cap blend

investments.


                                CREF Stock Account
               One-, Three-, Five-, and Ten-Year Investment Returns
                             Compared to Benchmarks
                                   (as of December 31, 2016)
                                                           27%
  17%                                                  greater than
                 30%–39%
                                                       CREF return
               greater than
  15%
               CREF return            19%–51%
                                    greater than
  13%                               CREF return

  11%                                                                     38%–45%
                                                                        greater than
   9%                                                                   CREF return


   7%

   5%
                1 year               3 Year            5 year             10 year
                         CREF Stock Account   VITPX     VIIIX   Russell 3000


        203.   The CREF Stock Account, with an expense ratio of 46 bps as of

December 31, 2014, was and is dramatically more expensive than far better

performing index alternatives: the Vanguard Total Stock Market Index Fund (Instl

Plus) (2 bps) and the Vanguard Institutional Index (Instl Plus) (2 bps).

        204.   Apart from underperforming passively managed index funds, the fund

also significantly underperformed comparable actively managed funds over the one,

five-, and ten-year periods ending December 31, 2016. These large cap alternatives

with similar underlying asset allocations to the CREF Stock Account include the

Vanguard PRIMECAP (Adm) (VPMAX) and Vanguard Capital Opp. (Adm)

(VHCAX).


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                                   CREF Stock Account
                  One-, Three-, Five-, and Ten-Year Investment Returns
                      Compared to Actively Managed Benchmarks
                                     (as of Dec. 31, 2016)     47%–58%
                                                             greater than
  19%                                                        CREF return

  17%

  15%                  16%            49%
                   greater than   greater than
  13%              CREF return    CREF return
                                                                               82%–87%
                                                                             greater than
  11%                                                                        CREF return
      9%

      7%

      5%
                   1 year          3 Year             5 year                10 year
                            CREF Stock Account     VPMAX     VHCAX




           205.   The CREF Stock Account also had a long history of substantial

underperformance compared to these actively managed alternatives over the one-,

five-, and ten-year periods ending December 31, 2009.62




 62 Because the Vanguard Diversified Equity Fund’s inception date was June 10, 2006, it
was excluded from the five- and ten-year periods. For the Vanguard PRIMECAP (Adm) and
Vanguard Capital Opportunity Fund (Adm), the investment returns of the investor share
class for ten-year performance were used because the admiral share class for each of these
funds was not offered until November 12, 2001. The return since inception for the
Vanguard PRIMECAP (Adm) was 3.23%, and for the Vanguard Capital Opportunity Fund
(Adm), 5.89%.
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                      CREF Stock Account
        One-Year Investment Returns Compared to Actively
                      Managed Benchmarks
                         (as of Dec. 31, 2009)


                           6%–53%
50%                      greater than
                            CREF
45%                        returns

40%

35%

30%
                              1 Year
         CREF Stock Account      VDEQX           VPMAX   VHCAX



                       CREF Stock Account
        Five-Year Investment Returns Compared to Actively
                      Managed Benchmarks
                         (as of Dec. 31, 2009)

                               174%–206%
                              greater than
                              CREF returns
6.00%
5.00%
4.00%
3.00%
2.00%
1.00%
0.00%
                             5 Year
               CREF Stock Account   VPMAX            VHCAX




                                   95
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                            CREF Stock Account
             Ten-Year Investment Returns Compared to Actively
                           Managed Benchmarks
                              (as of Dec. 31, 2009)
                                                    3130%–5790%
                                                    greater than
                                                  CREF returns


     6.00%
     5.00%
     4.00%
     3.00%
     2.00%
     1.00%
     0.00%
                                10 Year
                   CREF Stock Account   VPMAX            VHCAX


      206.   Despite the consistent underperformance, the CREF Stock Account,

with an expense ratio of 46 bps as of December 31, 2014, was more expensive than

better performing actively managed alternatives: the Vanguard Diversified Equity

(Inv) (40 bps), the Vanguard PRIMECAP (Adm) (35 bps), and the Vanguard Capital

Opp. (Adm) (40 bps).

      207.   Besides this abysmal long-term underperformance of the CREF Stock

Account compared to both index funds and actively managed funds, the fund was

recognized as imprudent in the industry. In March 2012, an independent

investment consultant, AonHewitt, recognized the imprudence of the CREF Stock

Account and recommended to its clients that they remove this fund from their

retirement plans. AonHewitt, TIAA-CREF Asset Management, INBRIEF, at 3 (July

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2012).63 This recommendation was made due to numerous factors, including the

historical underperformance, high turnover of asset management executives and

portfolio managers, and the over 60 separate underlying investment strategies,

which greatly reduced the fund’s ability to generate excess returns over any

substantial length of time. Id. at 4–5. Had Defendants conducted a reasonable due

diligence investigation, they would have discovered these defects and removed the

CREF Stock Account from the Plans or frozen it to new investments.

      208.   The Supreme Court has recently and unanimously ruled that ERISA

fiduciaries have “a continuing duty to monitor investments and remove imprudent

ones[.]” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1829 (2015). In contrast to the

conduct of prudent fiduciaries, Defendants failed to conduct a prudent process to

monitor the CREF Stock Account and has retained the fund even though it

continues to underperform lower-cost investment alternatives that are readily

available to the Plans.

      209.   Prudent fiduciaries of defined contribution plans regularly monitor the

investment performance of plan options against applicable benchmarks and peer

groups to identify underperforming investments. Based on this process, prudent

fiduciaries place underperforming investments on a “watch list.” If performance

does not improve within a reasonable period, fiduciaries replace those imprudent

investments with better-performing and reasonably priced options. Under the




 63Available at http://system.nevada.edu/Nshe/?LinkServID=82B25D1E-9128-6E45-
1094320FC2037740.
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standards used by prudent independent fiduciaries, the CREF Stock Account would

have been removed from the Plans based on years of historical underperformance.

      210.     Had Defendants removed the CREF Stock Account and the amounts

been invested in any of the actively or passively managed lower-cost alternatives

identified in ¶¶189 and 191, participants in the Plans would not have lost well in

excess of $148 million of their retirement savings from the fund being retained in

the Plans.64

      B.       Defendants imprudently retained the TIAA Real Estate
               Account.

      211.     Defendants allowed the Plans to include the TIAA Real Estate Account

as one of the real estate investment options in the Plans. The fund has far greater

fees than are reasonable, has historically underperformed, and continues to

consistently underperform comparable real estate investment alternatives,

including the Vanguard REIT Index (Instl) (VGSNX).

      212.     With an expense ratio of 87 bps as of December 31, 2014, the TIAA

Real Estate Account is also over 10 times more expensive than the Vanguard REIT

Index (Instl), which has an expense ratio of 8 bps.




 64Plan losses have been brought forward to the present value using the investment
returns of the lower-cost alternatives to compensate participants who have not been
reimbursed for their losses.
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                         TIAA Real Estate Account
            Expense Ratio Compared to REIT Index Fund (VGSNX)

                              87 bps
                                            TIAA Expense 988% Higher than
      90
                                            REIT Index Fund
      80
      70
      60
      50
      40
      30                                                     8 bps
      20
      10
        0
                 TIAA Real Estate                     VGSNX
 Basis Points
                     Account
    (bps)



       213.   The TIAA Real Estate Account had a long history of substantial

underperformance relative to the Vanguard REIT Index over the one-, five-, and

ten-year periods ending December 31, 2009.65 Despite this, Defendants have not

removed or frozen the Real Estate Account and to date has retained it in the Plans.




 65 The return of the investor share class was used for ten-year performance because the
institutional share class was not offered until December 2, 2003. The return since inception
for the Vanguard REIT Index (Instl) was 5.49%.
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                    TIAA Real Estate Account
             One-Year Investment Returns Compared to
                    REIT Index Fund (VGSNX)
                          (as of Dec. 31, 2009)
                                           208%
                                          greater
   40%                                   than TIAA
                                          returns
   30%
   20%
   10%
    0%
  -10%
  -20%
  -30%
  -40%
                                1 Year
                 TIAA Real Estate Account         VGSNX


                    TIAA Real Estate Account
            Five-Year Investment Returns Compared to
                    REIT Index Fund (VGSNX)
                         (as of Dec. 31, 2009)
                                               143%
                                              greater
   1.00%                                     than TIAA
                                              returns
   0.50%

   0.00%

   -0.50%

   -1.00%

   -1.50%

   -2.00%
                                   5 Year
                 TIAA Real Estate Account         VGSNX



                                 100
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                            TIAA Real Estate Fund
                   Ten-Year Investment Returns Compared to
                          REIT Index Fund (VGSNX)
                               (as of Dec. 31, 2009)
                                                239%
                                               greater
                                              than TIAA
                                               returns
             12%


              7%


              2%
                                   10 Year
                       TIAA Real Estate Account       VGSNX


      214.   This underperformance continued for years before 2009 and has

continued after 2009. The TIAA Real Estate Account significantly underperformed

the Vanguard REIT Index (Instl) over the one-, five-, and ten-year periods ending

September 30, 2017.




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                           TIAA Real Estate Account
                 One-, Three-, and Five-Year Investment Returns
                    Compared to REIT Index Fund (VGSNX)
                                     (as of Dec. 31, 2016)


                                   64%
                               greater than
                               TIAA return
      9%

      8%

      7%

      6%

      5%

      4%
                                   1 year
                         TIAA Real Estate Account       VGSNX


                           TIAA Real Estate Account
                 One-, Three-, and Five-Year Investment Returns
                    Compared to REIT Index Fund (VGSNX)
                                     (as of Dec. 31, 2016)
                    55%
                greater than                      31%
                TIAA return                   greater than
   14%                                        TIAA return
   13%
   12%
   11%
   10%                                                                     56%
    9%                                                                 greater than
    8%                                                                 TIAA return
    7%
    6%
    5%
    4%
                3 year                 5 year                        10 year
                          TIAA Real Estate Account           VGSNX



      215.   As the Supreme Court unanimously ruled in Tibble, fiduciaries of

defined contribution plans have a continuing duty to monitor plan investment

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options and replace imprudent investments. Tibble, 135 S. Ct. at 1829. Defendants

failed to conduct such a process and continues to retain the TIAA Real Estate

Account as an investment option in the Plans, despite its continued dramatic

underperformance and far higher costs compared to available investment

alternatives.

       216.     Had the amounts invested in the TIAA Real Estate Account instead

been invested in the lower-cost and better-performing Vanguard REIT Index (Instl),

Plan participants would not have lost almost $20 million of their retirement

savings.66

                           CLASS ACTION ALLEGATIONS

       217.     29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the

Plans to bring an action individually on behalf of the Plans to enforce a breaching

fiduciary’s liability to the Plans under 29 U.S.C. §1109(a).

       218.     In acting in this representative capacity and to enhance the due

process protections of unnamed participants and beneficiaries of the Plans, as an

alternative to direct individual actions on behalf of the Plans under 29 U.S.C.

§1132(a)(2), Plaintiffs seek to certify this action as a class action on behalf of all

participants and beneficiaries of the Plans. Plaintiffs seek to certify, and to be

appointed as representatives of, the following class:

       All participants and beneficiaries of the NYU School of Medicine
       Retirement Plan for Members of the Faculty, Professional Research
       Staff and Administration and the New York University Retirement

 66Losses in the Plans have been brought forward to the present value using the
investment returns of the Vanguard REIT Index (Instl) to compensate participants who
have not been reimbursed for their losses.
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      Plan for Members of the Faculty, Professional Research Staff and
      Administration from November 10, 2011, through the date of
      judgment, excluding the Defendants and any participant who is a
      fiduciary to the Plans.

      219.   This action meets the requirements of Rule 23 and is certifiable as a

class action for the following reasons:

             a.     The Class includes over 20,000 members and is so large that

      joinder of all its members is impracticable.

             b.     There are questions of law and fact common to this Class

      because Defendants owed fiduciary duties to the Plans and to all participants

      and beneficiaries and took the actions and omissions alleged herein as to the

      Plans and not as to any individual participant. Thus, common questions of

      law and fact include the following, without limitation: who are the fiduciaries

      liable for the remedies provided by 29 U.S.C. §1109(a); whether the

      fiduciaries of the Plans breached their fiduciary duties to the Plans; what are

      the losses to the Plans resulting from each breach of fiduciary duty; and what

      Plan-wide equitable and other relief the court should impose in light of

      Defendants’ breach of duty.

             c.     Plaintiffs’ claims are typical of the claims of the Class because

      each Plaintiff was a participant during the time period at issue in this action

      and all participants in the Plans were harmed by Defendants’ misconduct, as

      described above.

             d.     Plaintiffs are adequate representatives of the Class because they

      were participants in the Plans during the Class period, have no interest that

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      is in conflict with the Class, are committed to the vigorous representation of

      the Class, and have engaged experienced and competent attorneys to

      represent the Class.

             e.     Prosecution of separate actions for these breaches of fiduciary

      duties by individual participants and beneficiaries would create the risk of

      (A) inconsistent or varying adjudications that would establish incompatible

      standards of conduct for Defendants in respect to the discharge of its

      fiduciary duties to the Plans and personal liability to the Plans under 29

      U.S.C. §1109(a), and (B) adjudications by individual participants and

      beneficiaries regarding these breaches of fiduciary duties and remedies for

      the Plans would, as a practical matter, be dispositive of the interests of the

      participants and beneficiaries not parties to the adjudication or would

      substantially impair or impede those participants’ and beneficiaries’ ability to

      protect their interests. Therefore, this action should be certified as a class

      action under Rule 23(b)(1)(A) or (B).

      220.   A class action is the superior method for the fair and efficient

adjudication of this controversy because joinder of all participants and beneficiaries

is impracticable, the losses suffered by individual participants and beneficiaries

may be small, it would be impracticable for individual members to enforce their

rights through individual actions, and the common questions of law and fact

predominate over individual questions. Given the nature of the allegations, no class

member has an interest in individually controlling the prosecution of this matter,


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and Plaintiffs are aware of no difficulties likely to be encountered in the

management of this matter as a class action. Alternatively, then, this action may be

certified as a class under Rule 23(b)(3) if it is not certified under Rule 23(b)(1)(A) or

(B).

       221.   Plaintiffs’ counsel, Schlichter, Bogard & Denton LLP, will fairly and

adequately represent the interests of the Class and is best able to represent the

interests of the Class under Rule 23(g).

              a.    Schlichter, Bogard & Denton has been appointed as class

       counsel in 17 other ERISA class actions regarding excessive fees in large

       defined contribution plans. As Chief Judge Michael J. Reagan of the

       Southern District of Illinois recognized in approving a settlement which was

       reached on the eve of trial after eight years of litigation, resulting in a $62

       million monetary recovery and very substantial affirmative relief to benefit

       the Plans, the firm had shown “exceptional commitment and perseverance in

       representing employees and retirees seeking to improve their retirement

       plans,” and “demonstrated its well-earned reputation as a pioneer and the

       leader in the field” of 401(k) plan excessive fee litigation. Abbott v. Lockheed

       Martin Corp., No. 06-701, 2015 U.S.Dist.LEXIS 93206, at *4–5 (S.D.Ill. July

       17, 2015). Other courts have made similar findings: “It is clear to the Court

       that the firm of Schlichter, Bogard & Denton is preeminent in the field” “and

       is the only firm which has invested such massive resources in this area.”

       George v. Kraft Foods Global, Inc., No. 08-3799, 2012 U.S.Dist.LEXIS 166816


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at 8 (N.D. Ill. June 26, 2012). “As the preeminent firm in 401(k) fee litigation,

Schlichter, Bogard & Denton has achieved unparalleled results on behalf of

its clients.” Nolte v. Cigna Corp., No. 07-2046, 2013 U.S.Dist.LEXIS 184622

at 8 (C.D. Ill. Oct. 15, 2013). “Litigating this case against formidable

defendants and their sophisticated attorneys required Class Counsel to

demonstrate extraordinary skill and determination.” Beesley v. Int’l Paper

Co., No. 06-703, 2014 U.S.Dist.LEXIS 12037 at 8 (S.D. Ill. Jan. 31, 2014).

      b.     The U.S. District Court Judge G. Patrick Murphy recognized the

work of Schlichter, Bogard & Denton as exceptional:

      Schlichter, Bogard & Denton’s work throughout this litigation
      illustrates an exceptional example of a private attorney general
      risking large sums of money and investing many thousands of
      hours for the benefit of employees and retirees. No case had
      previously been brought by either the Department of Labor or
      private attorneys against large employers for excessive fees in a
      401(k) plan. Class Counsel performed substantial work[,]
      investigating the facts, examining documents, and consulting
      and paying experts to determine whether it was viable. This
      case has been pending since September 11, 2006. Litigating the
      case required Class Counsel to be of the highest caliber and
      committed to the interests of the participants and beneficiaries
      of the General Dynamics 401(k) Plans.

Will v. General Dynamics Corp., No. 06-698, 2010 U.S.Dist.LEXIS 123349 at

8–9 (S.D.Ill. Nov. 22, 2010).

      c.     Schlichter, Bogard & Denton handled the only full trial of an

ERISA excessive fee case, resulting in a $36.9 million judgment for the

plaintiffs that was affirmed in part by the Eighth Circuit. Tussey v. ABB,

Inc., 746 F.3d 327 (8th Cir. 2014). In awarding attorney’s fees after trial, the


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district court concluded that “Plaintiffs’ attorneys are clearly experts in

ERISA litigation.” Tussey v. ABB, Inc., No. 06-4305, 2012 U.S.Dist.LEXIS

157428 at 10 (W.D. Mo. Nov. 2, 2012). Following remand, the district court

again awarded Plaintiffs’ attorney’s fees, emphasizing the significant

contribution Plaintiffs’ attorneys have made to ERISA litigation, including

educating the Department of Labor and federal courts about the importance

of monitoring fees in retirement plans.

      Of special importance is the significant, national contribution
      made by the Plaintiffs whose litigation clarified ERISA
      standards in the context of investment fees. The litigation
      educated plan administrators, the Department of Labor, the
      courts and retirement plan participants about the importance of
      monitoring recordkeeping fees and separating a fiduciary’s
      corporate interest from its fiduciary obligations.

 Tussey v. ABB, Inc., No. 06-4305, 2015 U.S.Dist.LEXIS 164818 at 7–8 (W.D.

Mo. Dec. 9, 2015).

      d.     In Spano v. Boeing Co., in approving a settlement reached after

nine years of litigation which included $57 million in monetary relief and

substantial affirmative relief to benefit participants, the court found that

“Schlichter, Bogard & Denton added great value to the Class through the

persistence and skill of their attorneys.” No. 06-cv-743, Doc. 587, at 5 (S.D.Ill.

Mar. 31, 2016) (Rosenstengel, J.).

      e.     In approving a recent settlement including $32 million plus

significant affirmative relief, Chief Judge Osteen in Kruger v. Novant Health,

Inc., No. 14-208, Doc. 61, at 7–8 (M.D.N.C. Sept. 29, 2016) found that “Class


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Counsel’s efforts have not only resulted in a significant monetary award to

the class but have also brought improvement to the manner in which the

Plans are operated and managed which will result in participants and

retirees receiving significant savings[.]”

      f.     In November 2016, Judge Ponsor of the United States District

Court for the District of Massachusetts found that by securing a $30.9 million

settlement, Schlichter, Bogard & Denton had achieved an “outstanding result

for the class,” and “demonstrated extraordinary resourcefulness, skill,

efficiency and determination.” Gordan v. Mass Mutual Life Ins., Co., No. 14-

30184, Doc. 144 at 5 (D. Mass. November 3, 2016).

      g.     Recently, on October 24, 2017, Judge Andre Birotte Jr. of the

United States District Court for the Central District of California found that

the $16.75 million settlement fund obtained by Schlichter, Bogard & Denton

was an “exceptional result” for the class that came after approximately eleven

years of hard fought litigation. Waldbuesser v. Northrop Grumman Corp., No.

06-6213, Doc. 803 at 4–5. (C.D.Cal. October 24, 2017).

      h.     Schlichter, Bogard & Denton is also class counsel in and handled

Tibble v. Edison International—the first and only Supreme Court case to

address the issue of excessive fees in a defined contribution plan—in which

the Court held in a unanimous 9–0 decision that ERISA fiduciaries have “a

continuing duty to monitor investments and remove imprudent ones[.]” 135

S. Ct. at 1829. Schlichter, Bogard & Denton successfully petitioned for a writ


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       of certiorari, and obtained amicus support from the United States Solicitor

       General and AARP, among others. Given the Court’s broad recognition of an

       ongoing fiduciary duty, the Tibble decision will affect all ERISA defined

       contribution plans.

              i.     The firm’s work in ERISA excessive fee class actions has been

       featured in the New York Times, Wall Street Journal, NPR, Reuters, and

       Bloomberg, among other media outlets. See, e.g., Anne Tergesen, 401(k) Fees,

       Already Low, Are Heading Lower, WALL ST. J. (May 15, 2016);67 Gretchen

       Morgenson, A Lone Ranger of the 401(k)’s, N.Y. TIMES (Mar. 29, 2014);68 Liz

       Moyer, High Court Spotlight Put on 401(k) Plans, WALL ST. J. (Feb. 23,

       2015);69 Floyd Norris, What a 401(k) Plan Really Owes Employees, N.Y.

       TIMES (Oct. 16, 2014);70 Sara Randazzo, Plaintiffs’ Lawyer Takes on

       Retirement Plans, WALL ST. J. (Aug. 25, 2015);71 Jess Bravin and Liz Moyer,

       High Court Ruling Adds Protections for Investors in 401(k) Plans, WALL ST. J.

       (May 18, 2015); 72 Jim Zarroli, Lockheed Martin Case Puts 401(k) Plans on




 67  Available at http://www.wsj.com/articles/401-k-fees-already-low-are-heading-lower-
1463304601.
  68 Available at http://www.nytimes.com/2014/03/30/business/a-lone-ranger-of-the-401-k-

s.html?_r=0.
  69 Available at http://www.wsj.com/articles/high-court-spotlight-put-on-401-k-plans-

1424716527.
  70 Available at http://www.nytimes.com/2014/10/17/business/what-a-401-k-plan-really-

owes-employees.html?_r=0.
  71 Available at http://blogs.wsj.com/law/2015/08/25/plaintiffs-lawyer-takes-on-retirement-

plans/.
  72 Available at http://www.wsj.com/articles/high-court-ruling-adds-protections-for-

investors-in-401-k-plans-1431974139.
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        Trial, NPR (Dec. 15, 2014);73 Mark Miller, Are 401(k) Fees Too High? The

        High-Court May Have an Opinion, REUTERS (May 1, 2014);74 Greg Stohr,

        401(k) Fees at Issue as Court Takes Edison Worker Appeal, BLOOMBERG (Oct.

        2, 2014).75

                                        COUNT I

           Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

      Locking the Plans into CREF Stock Account and TIAA Recordkeeping

        222.   Plaintiffs restate and incorporate the allegations in the preceding

paragraphs.

        223.   Defendant was required to discharge its duties with respect to the

Plans solely in the interest of, and for the exclusive purpose of providing benefits to,

Plan participants and beneficiaries, defraying reasonable expenses of administering

the Plans, and acting with the care, skill, prudence, and diligence required by

ERISA.

        224.   Defendant was required to independently assess “the prudence of each

investment option” for the Plans on an ongoing basis, DiFelice, 497 F.3d at 423, and

to act prudently and solely in the interest of the Plans’ participants in deciding

whether to maintain a recordkeeping arrangement, DOL Adv. Op. 97-16A.




 73  Available at http://www.npr.org/2014/12/15/370794942/lockheed-martin-case-puts-401-
k-plans-on-trial.
74 Available at http://www.reuters.com/article/us-column-miller-401fees-

idUSBREA400J220140501.
  75 Available at http://www.bloomberg.com/news/articles/2014-10-02/401-k-fees-at-issue-as-

court-takes-edison-worker-appeal.
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Defendant was also required to remove investments that were no longer prudent for

the Plans, as the Supreme Court recently confirmed. Tibble, 135 S. Ct. at 1828–29.

      225.   By allowing TIAA-CREF to mandate the inclusion of the CREF Stock

Account and Money Market Account in the Plans, and to require that it provide

recordkeeping for its proprietary options, Defendant committed the Plans to an

imprudent arrangement in which certain investments could not be removed from

the plan even if they were no longer prudent investments, and prevented the Plans

from using alternative recordkeepers who could provide superior services at a lower

cost. In so doing, Defendant abdicated its duty to independently assess the

prudence of each option in the Plans on an ongoing basis, and to act prudently and

solely in the interest of participants in selecting the Plans’ recordkeeper. By

allowing TIAA-CREF to dictate these terms, Defendant favored the financial

interests of TIAA-CREF in receiving a steady stream of revenues from bundled

services over the interest of participants.

      226.   Because Defendant shackled the Plan with the CREF Stock Account

and TIAA recordkeeping services without engaging in a reasoned decisionmaking

process as to the prudence of those options, Defendant is liable to make good to the

Plans all losses resulting from its breach. 29 U.S.C. §1109(a). As described in detail

above, the Plans suffered massive losses from the inclusion of the CREF Stock

Account in the Plans compared to what those assets would have earned if invested

in prudent alternative investments that were available to the Plans, and also




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suffered losses from paying TIAA recordkeeping fees that far exceeded market

rates.

                                         COUNT II

                      Prohibited transactions—29 U.S.C. §1106(a)(1)

     Locking the Plans into CREF Stock Account and TIAA Recordkeeping

         227.   Plaintiffs restate and incorporate herein the allegations of the

preceding paragraphs.

         228.   Section 1106(a)(1) prohibits transactions between a plan and a “party

in interest,” and provides as follows:

           [A] fiduciary with respect to a plan shall not cause the plan to engage in a
           transaction, if he knows or should know that such transaction constitutes a
           direct or indirect –

                (A)     sale or exchange, or leasing, of any property between the plan
                        and a party in interest;
                ***
                (C) furnishing of goods, services, or facilities between the plan and
                    party in interest;
                (D) transfer to, or use by or for the benefit of a party in interest, of
                    any assets of the plan …

29 U.S.C. §1106(a)(1).

         229.   Congress defined “party in interest” to encompass “those entities that a

fiduciary might be inclined to favor at the expense of the plan beneficiaries,” such as

employers, other fiduciaries, and service providers. Harris Tr. & Sav. Bank v.

Salomon Smith Barney, Inc., 530 U.S. 238, 242 (2000); 29 U.S.C. §1002(14)(A)–(C).

As service providers to the Plans, TIAA-CREF and Vanguard are parties in interest.

29 U.S.C. §1002(14)(B).



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      230.    By allowing the Plans to be locked into an unreasonable arrangement

that required the Plans to include the CREF Stock Account and to use TIAA as the

recordkeeper for its proprietary products even though the fund was no longer a

prudent option for the Plans due to its excessive fees and poor performance, and

even though TIAA’s recordkeeping fees were unreasonable expensive for the

services provided, Defendant caused the Plans to engage in transactions that it

knew or should have known constituted an exchange of property between the Plan

and TIAA-CREF prohibited by 29 U.S.C. §1106(a)(1)(A), a direct or indirect

furnishing of services between the Plan and TIAA-CREF prohibited by 29 U.S.C.

§1106(a)(1)(C), and a transfer of Plan assets to TIAA-CREF prohibited by 29 U.S.C.

§1106(a)(1)(D). These transactions occurred each time the Plans paid fees to TIAA-

CREF in connection with the Plans’ investments in the CREF Stock Account and

other proprietary options that paid revenue sharing to TIAA.

      231.    Under 29 U.S.C. §1109(a), Defendant is liable to restore all losses to

the Plans resulting from these prohibited transactions, and is subject to other

appropriate equitable or remedial relief.

                                     COUNT III

          Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

                        Unreasonable Administrative Fees

      232.    Plaintiffs restate and incorporate the allegations in the preceding

paragraphs.

      233.    Defendants were required to discharge its duties with respect to the

Plans solely in the interest of, and for the exclusive purpose of providing benefits to,
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Plan participants and beneficiaries, defraying reasonable expenses of administering

the Plans, and acting with the care, skill, prudence, and diligence required by

ERISA.

      234.   If a defined contribution plan overpays for recordkeeping services due

to the fiduciaries’ “failure to solicit bids” from other recordkeepers, the fiduciaries

have breached their duty of prudence. See George v. Kraft Foods Global, Inc., 641

F.3d 786, 798–99 (7th Cir. 2011). Similarly, failing to “monitor and control

recordkeeping fees” and “paying excessive revenue sharing” as a result of failures to

“calculate the amount the Plan was paying … through revenue sharing,” to

“determine whether [the recordkeeper’s] pricing was competitive,” and to “leverage

the Plan's size to reduce fees,” while allowing the “revenue sharing to benefit” a

third-party recordkeeper “at the Plan’s expense,” is a breach of fiduciary duties.

Tussey, 746 F.3d at 336.

      235.   Defendants’ process for monitoring and controlling the Plans’

recordkeeping fees was flawed in that Defendants failed to: monitor the amount of

the revenue sharing received by the Plans’ recordkeepers, determine if those

amounts were competitive or reasonable for the services provided to the Plans, or

use the Plans’ size to reduce fees or obtain rebates. Moreover, Defendants failed to

solicit bids from competing providers on a flat per-participant fee basis. As the

Plans’ assets grew, the asset-based revenue sharing payments to the Plans’

recordkeepers grew, even though the services provided by the recordkeepers

remained the same. This caused the recordkeeping compensation paid to the


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recordkeepers to exceed a reasonable fee for the services provided. This conduct was

a breach of fiduciary duties.

      236.   Defendants also failed to account for the fact that TIAA used its

position as a recordkeeper to obtain access to participants, gaining valuable

information including participants’ contact information, their choices of

investments, the size of their accounts, their employment status, and their age

among other things. Defendants allowed TIAA to then use this information to sell

lucrative products to plan participants as they neared retirement age without

receiving any compensation for the use of this valuable information. This

information was even more lucrative for TIAA because Defendants are using TIAA

as a recordkeeper and are offering TIAA’s products in the Plans to participants.

      237.   By allowing TIAA-CREF and Vanguard to put their proprietary

investments in the Plans without scrutinizing those providers’ financial interest in

using funds that provided them a steady stream of revenue sharing payments,

Defendants failed to act in the exclusive interest of participants.

      238.   In contrast to the comprehensive plan reviews conducted by similarly

situated 403(b) plan fiduciaries which resulted in consolidation to a single

recordkeeper and significant fee reductions, Defendants failed to engage in a timely

and reasoned decisionmaking process to determine whether the Plans would

similarly benefit from consolidating the Plans’ administrative and recordkeeping

services under a single provider. Instead, Defendants retained two recordkeepers to

provide recordkeeping services. This failure to consolidate the recordkeeping


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services eliminated the Plans’ ability to obtain the same services at a lower cost

with a single recordkeeper. Defendants’ failure to “balance the relevant factors and

make a reasoned decision as to the preferred course of action—under circumstances

in which a prudent fiduciary would have done so”—and, indeed, did so—was a

breach of fiduciary duty. George, 641 F.3d at 788.

      239.     Total losses to the Plans will be determined after complete discovery in

this case and are continuing.

      240.     Defendants are personally liable under 29 U.S.C. §1109(a) to make

good to the Plans any losses to the Plans resulting from the breaches of fiduciary

duties alleged in this Count and is subject to other equitable or remedial relief as

appropriate.

      241.     Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit a breach by failing to lawfully discharge its own fiduciary duties, knew of

the breach by the other Defendants and failed to make any reasonable effort under

the circumstances to remedy the breach. Thus, each Defendant is liable for the

losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).

                                      COUNT IV

                  Prohibited transactions—29 U.S.C. §1106(a)(1)

                        Unreasonable Administrative Fees

      242.     Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.



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      243.   As service providers to the Plans, TIAA-CREF and Vanguard are

parties in interest. 29 U.S.C. §1002(14)(B).

      244.   In engaging multiple entities—TIAA-CREF and Vanguard—to provide

recordkeeping services to the Plans and allowing them to collect unreasonably high

fees for the services provided, Defendant caused the Plan to pay excessive fees for

unnecessary services, thereby causing the Plans to engage in transactions that

Defendant knew or should have known constituted an exchange of property between

the Plan and TIAA-CREF and Vanguard prohibited by 29 U.S.C. §1106(a)(1)(A), a

direct or indirect furnishing of services between the Plan and TIAA-CREF and

Vanguard prohibited by 29 U.S.C. §1106(a)(1)(C), and a transfer of Plan assets to

TIAA-CREF and Vanguard prohibited by 29 U.S.C. §1106(a)(1)(D). These

transactions occurred each time the Plans paid fees to TIAA-CREF or Vanguard in

connection with the Plans’ investments in funds that paid revenue sharing to TIAA

or Vanguard.

      245.   Under 29 U.S.C. §1109(a), Defendant is liable to restore all losses to

the Plans resulting from these prohibited transactions, and is subject to other

appropriate equitable or remedial relief.

                                     COUNT V

          Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

               Unreasonable investment management fees,
            unnecessary marketing and distribution (12b-1) fees
        and mortality and expense risk fees, and performance losses.




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      246.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      247.   Defendants are responsible for selecting prudent investment options,

ensuring that those options charge only reasonable fees, and taking any other

necessary steps to ensure that the Plans’ assets are invested prudently. Defendants

had a continuing duty to evaluate and monitor the Plans’ investments on an

ongoing basis and to “remove imprudent ones” within a reasonable time. Tibble, 135

S. Ct. at 1829.

      248.   These duties required Defendants to independently assess whether

each option was a prudent choice for the Plans, and not simply to follow the

recordkeepers’ fund recommendations or to allow the recordkeepers to put their

entire investment lineups in the Plans’ menus. DiFelice, 497 F.3d at 423;

see Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 590, 595–96 (8th Cir. 2009).

      249.    In making investment decisions, Defendants were required to consider

all relevant factors under the circumstances, including without limitation

alternative investments that were available to the Plans, the recordkeepers’

financial interest in having their proprietary investment products included in the

Plans, and whether the higher costs of actively managed funds was justified by a

realistic expectation of higher returns. Braden, 588 F.3d at 595–96; Tatum v. RJR

Pension Inv. Comm., 761 F.3d 346, 360 (4th Cir. 2014); 29 C.F.R. § 2550.404a-1(b);

Restatement (Third) of Trusts ch. 17, intro. note; id. § 90 cmt. h(2).




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      250.   Defendants selected and retained for years as Plan investment options

mutual funds and insurance company variable annuities with high expenses and

poor performance relative to other investment options that were readily available to

the Plans at all relevant times.

      251.   Many of these options included unnecessary layers of fees that

provided no benefit to participants but significant benefits to TIAA-CREF and

Vanguard, including marketing and distribution (12b-1) fees and “mortality and

expense risk” fees.

      252.   Rather than consolidating the 103 options in the Faculty Plan and 84

options in the Medical Plan into a core investment lineup in which prudent

investments were selected for a given asset class and investment style, as is the

case with most defined contribution plans, Defendants retained multiple

investment options in each asset class and investment style, thereby depriving the

Plans of their ability to qualify for lower cost share classes of certain investments,

while violating the well-known principle for fiduciaries that such a high number of

investment options causes participant confusion. In addition, as a fiduciary required

to operate as a prudent financial expert, Katsaros v. Cody, 744 F.2d 270, 279 (2d

Cir. 1984), Defendants knew or should have known that providing numerous

actively managed duplicative funds in the same investment style would produce a

“shadow index” return before accounting for much higher fees than index fund fees,

thereby resulting in significant underperformance. The Plans’ investment offerings

included the use of mutual funds and variable annuities with expense ratios far in


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excess of other lower-cost options available to the Plans. These lower-cost options

included lower-cost share class mutual funds with the identical investment

manager and investments, lower-cost insurance company variable annuities and

insurance company pooled separate accounts. All of the Plans’ options were the

recordkeepers’ own proprietary investments. Thus, the use of these funds was

tainted by the recordkeepers’ financial interest in including these funds in the

Plans, which Defendants failed to consider. In so doing, Defendants failed to make

investment decisions based solely on the merits of the investment funds and what

was in the interest of participants. Defendants therefore failed to discharge its

duties with respect to the Plans solely in the interest of the participants and

beneficiaries and for the exclusive purpose of providing benefits to participants and

their beneficiaries and defraying reasonable expenses of administering the Plans.

This was a breach of fiduciary duties.

      253.   Defendants failed to engage in a prudent process for monitoring the

Plans’ investments and removing imprudent ones within a reasonable period. This

resulted in the Plans continuing to offer excessively expensive funds with inferior

historical performance compared to superior low-cost alternatives that were

available to the Plans.

      254.   CREF Stock Account: Defendants selected and retained the CREF

Stock Account despite its excessive cost and historical underperformance compared

to both passively managed investments and actively managed investments with

similar underlying asset allocations.


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      255.     TIAA Real Estate Account: Defendants selected and retained the TIAA

Real Estate Account despite its excessive fees and historical underperformance

compared to lower-cost real estate investments.

      256.     Had Defendants engaged in a prudent investment review process, it

would have concluded that these options were causing the Plans to lose tens of

millions of dollars of participants’ retirement savings in excessive and unreasonable

fees and underperformance relative to prudent investment options available to the

Plans, and thus should be removed from the Plans or, at a minimum, frozen to new

investments.

      257.     Total losses to the Plans will be determined after complete discovery in

this case and are continuing.

      258.     Defendants are personally liable under 29 U.S.C. §1109(a) to make

good to the Plans any losses to the Plans resulting from the breaches of fiduciary

duties alleged in this Count and are subject to other equitable or remedial relief as

appropriate.

      259.     Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit a breach by failing to lawfully discharge its own fiduciary duties, knew of

the breach by the other Defendants and failed to make any reasonable effort under

the circumstances to remedy the breach. Thus, each Defendant is liable for the

losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).




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                                     COUNT VI

                Prohibited transactions—29 U.S.C. §1106(a)(1)

 Unreasonable investment management fees, unnecessary marketing and
      distribution (12b-1) fees and mortality and expense risk fees.

      260.   Plaintiffs restate and incorporate herein the allegations of the

preceding paragraphs.

      261.   As the plan’s providers of investment services, TIAA-CREF and

Vanguard are parties in interest. 29 U.S.C. §1002(14)(B).

      262.   In including 103 TIAA-CREF and Vanguard investment options in the

Faculty Plan and 84 TIAA-CREF and Vanguard investment options in the Medical

Plan, many of which were duplicative and charged excessive and unnecessary fees

compared to superior low-cost alternatives that were available to the Plans,

including identical lower-cost share classes of the same mutual funds, Defendant

caused the Plan to pay excessive fees for unnecessary and duplicative services,

thereby causing the Plans to engage in transactions that Defendant knew or should

have known constituted an exchange of property between the Plan and TIAA-CREF

and Vanguard prohibited by 29 U.S.C. §1106(a)(1)(A), a direct or indirect furnishing

of services between the Plan and TIAA-CREF and Vanguard prohibited by 29

U.S.C. §1106(a)(1)(C), and a transfer of Plan assets to TIAA-CREF and Vanguard

prohibited by 29 U.S.C. §1106(a)(1)(D). These transactions occurred each time the

Plans paid fees to TIAA-CREF or Vanguard in connection with the Plans’

investments in TIAA-CREF and Vanguard investment options.




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      263.   Under 29 U.S.C. §1109(a), Defendant is liable to restore all losses to

the Plans resulting from these prohibited transactions, and is subject to other

appropriate equitable or remedial relief.

                                       COUNT VII

                Prohibited transactions—29 U.S.C. §1106(a)(1)

               TIAA’s Exploitation of Its Role as Recordkeeper

      264.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      265.   As the plan’s providers of investment services, TIAA-CREF is a party

in interest. 29 U.S.C. §1002(14)(B).

      266.   By allowing TIAA to exploit its position as recordkeeper to glean

valuable information about the Plans’ participants and to use that information to

market and sell lucrative financial products to the Plans’ participants outside of

their investments already in the Plans, Defendants caused the Plans to engage in

transactions that Defendant knew or should have known constituted an exchange of

property between the Plan and TIAA-CREF prohibited by 29 U.S.C. §1106(a)(1)(A),

a direct or indirect furnishing of services between the Plan and TIAA-CREF

prohibited by 29 U.S.C. §1106(a)(1)(C), and a transfer of Plan assets to TIAA-CREF

prohibited by 29 U.S.C. §1106(a)(1)(D). These transactions occurred each time

TIAA harvested information from the Plans’ records or used the Plans’ participant

information to sell outside retirement products and wealth management services to

the Plans’ participants.



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      267.   Under 29 U.S.C. §1109(a), Defendant is liable to restore all losses to

the Plans resulting from these prohibited transactions, and is subject to other

appropriate equitable or remedial relief.

                                     COUNT VIII

                          Failure to Monitor Fiduciaries

      268.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      269.   This Count alleges breach of fiduciary duty against NYU Hospitals

Center and NYU School of Medicine.

      270.   NYU Hospitals Center and NYU School of Medicine had the

responsibility to control and manage the operation and administration of the Plans,

including the selection of service providers for the Plans, with all powers necessary

to enable it to properly carry out such responsibilities.

      271.   To the extent NYU Hospitals Center or NYU School of Medicine

disclaims responsibility for any of the actions or omissions alleged in the preceding

counts based on having delegated its responsibilities to a third party, NYU

Hospitals Center and NYU School of Medicine remains liable for failing to monitor

its delegate. 29 U.S.C. §1105(a), (c)(2).

      272.   A monitoring fiduciary must ensure that the person to whom it

delegates fiduciary duties is performing its fiduciary obligations, including those

with respect to the investment and holding of plan assets, and must take prompt

and effective action to protect the plan and participants when the delegate fails to

discharge its duties.
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      273.   NYU Hospitals Center and NYU School of Medicine delegated certain

of its fiduciary responsibilities to the Retirement Plan Committee and its members,

including responsibility for administrative matters, and for evaluating, selecting,

and monitoring the Plans’ investment options.

      274.   NYU School of Medicine and NYU Hospitals Center breached its

fiduciary monitoring duties by, among other things:

             a.    Failing to monitor the Retirement Plan Committee and its

      members, including the individual Defendants, to evaluate their

      performance, or to have a system in place for doing so, and standing idly by

      as the Plans suffered enormous losses as a result of its delegates’ imprudent

      actions and omissions with respect to the Plans;

             b.    Failing to monitor the fiduciary process of the Retirement Plan

      Committee, including the individual Defendants, which would have alerted

      any prudent fiduciary to the potential breach because of the excessive

      administrative and investment management fees and consistent

      underperforming Plan investments in violation of ERISA;

             c.    Failing to ensure that the Retirement Plan Committee and its

      members, including the individual Defendants, had a prudent process in

      place for evaluating the Plans’ administrative fees and ensuring that the fees

      were competitive, including a process to identify and determine the amount

      of all sources of compensation to the Plans’ recordkeepers and the amount of

      any revenue sharing payments; a process to prevent the recordkeepers from


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      receiving revenue sharing that would increase the recordkeepers’

      compensation to unreasonable levels even though the services provided

      remained the same; and a process to periodically obtain competitive bids to

      determine the market rate for the services provided to the Plans;

             d.      Failing to ensure that the Retirement Plan Committee and its

      individual members, including the individual Defendants considered the

      ready availability of comparable and better performing investment options

      that charged significantly lower fees and expenses than the Plans’

      investments;

             e.      Failing to ensure that the Retirement Plan Committee and its

      individual members, including individual Defendants considered whether

      there were lower-cost, institutional share classes in the Plans;

             f.      Failing to remove members of the Retirement Plan Committee,

      including individually named Defendants whose performance was inadequate

      in that they continued to maintain imprudent, excessively costly, and poorly

      performing investments, all to the detriment of Plan participants’ retirement

      savings.

      275.   Had NYU School of Medicine and NYU Hospitals Center discharged

their fiduciary monitoring duties prudently as described above, the Plans would not

have suffered these losses. Therefore, as a direct result of the breaches of fiduciary

duty alleged herein, the Plans, the Plaintiffs, and the other Class members, lost

tens of millions of dollars of retirement savings.


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                               JURY TRIAL DEMANDED

      276.       Pursuant to Fed.R.Civ.P. 38 and the Constitution of the United States,

Plaintiffs demand a trial by jury.

                                 PRAYER FOR RELIEF

        For these reasons, Plaintiffs, on behalf of the Plans and all similarly

situated Plan participants and beneficiaries, respectfully request that the Court:

             •    Find and declare that Defendants have breached its fiduciary duties

                  as described above;

             •    Find and adjudge that Defendants are personally liable to make good

                  to the Plans all losses to the Plans resulting from each breach of

                  fiduciary duty, and to otherwise restore the Plans to the position they

                  would have occupied but for the breaches of fiduciary duty;

             •    Determine the method by which losses to the Plans under 29 U.S.C.

                  §1109(a) should be calculated;

             •    Order Defendants to provide all accountings necessary to determine

                  the amounts Defendants must make good to the Plans under

                  §1109(a);

             •    Order Defendants to disgorge all benefits TIAA received from

                  excessive fees and from marketing TIAA’s IRA products and wealth

                  management services, to compensate Plaintiffs for such benefits that

                  Defendants allowed TIAA to obtain;

             •    Remove the fiduciaries who have breached their fiduciary duties and

                  enjoin them from future ERISA violations;
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          •   Surcharge against Defendants and in favor of the Plans all amounts

              involved in any transactions which such accounting reveals were

              improper, excessive and/or in violation of ERISA;

          •   Reform the Plans to include only prudent investments;

          •   Reform the Plans to obtain bids for recordkeeping and to pay only

              reasonable recordkeeping expenses;

          •   Require the fiduciaries to select investments and service providers

              based solely on the merits of those selections, and not because it is a

              requirement in order to offer some different investment product or to

              use the provider;

          •   Certify the Class, appoint each of the Plaintiffs as a class

              representative, and appoint Schlichter, Bogard & Denton LLP as

              Class Counsel;

          •   Award to the Plaintiffs and the Class their attorney’s fees and costs

              under 29 U.S.C. §1132(g)(1) and the common fund doctrine;

          •   Order the payment of interest to the extent it is allowed by law; and

          •   Grant other equitable or remedial relief as the Court deems

              appropriate.

November 13, 2017                      Respectfully submitted,
                                       /s/ Andrew D. Schlichter
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